Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 1 of 81 Page
                                  ID #:3675



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11
12                      UNITED STATES DISTRICT COURT
13                    CENTRAL DISTRICT OF CALIFORNIA
14   ENTROPIC COMMUNICATIONS, LLC,             Case No. 2:23-cv-1049-JWH-KES
15                                             (Lead Case)
                     Plaintiff,                Case No. 2:23-cv-1050-JWH-KES
16                                             (Related Case)
          v.
17
     COMCAST CORPORATION; COMCAST
18                                             FIRSTSECOND AMENDED
     CABLE COMMUNICATIONS, LLC;
19   AND COMCAST CABLE                         COMPLAINT FOR PATENT
     COMMUNICATIONS MANAGEMENT,                INFRINGEMENT FOR CASE NO.
20                                             2:23-cv-1049-JWH-KES
     LLC,
21
     COX COMMUNICATIONS, INC., et al.,
22
                     Defendants.
23                                             DEMAND FOR JURY TRIAL
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       FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 2 of 81 Page
                                  ID #:3676



 1
     ENTROPIC COMMUNICATIONS, LLC,
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                     Plaintiff,
 3
          v.
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 5   COMCAST CORPORATION, et al.,
 6                   Defendants.
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       FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES      Document 128-22      Filed 12/08/23   Page 3 of 81 Page
                                     ID #:3677



 1         Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for
 2 patent infringement against Comcast Corporation (“Comcast Corp.”); Comcast Cable
 3 Communications,       LLC     (“Comcast     Communications”);      and   Comcast     Cable
 4 Communications        Management,     LLC     (“Comcast    Management”)       (collectively
 5 “Comcast”) and in support thereof alleges as follows:
 6         1.     This is a civil action arising under the patent laws of the United States,
 7 35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, based on Comcast’s
 8 infringement of U.S. Patent Nos. 8,223,775 (the “’775 Patent”), 8,284,690 (the
 9 “’690 Patent”), 8,792,008 (the “’008 Patent”), 9,210,362 (the “’362 Patent”),
10 9,825,826 (the “’826 Patent”), 10,135,682 (the “’682 Patent”), 11,381,866 (the “’866
11 Patent”), and 11,399,206 (the “’206 Patent”), 11,785,275 (the “’275 Patent”), and
12 9,866,438 (the “’438 Patent”) (collectively, the “Patents-in-Suit”).
13                                       THE PARTIES
14         2.     Entropic is a Delaware limited liability company with an office at
15 7150 Preston Road, Suite 300, Plano, Texas 75024.
16         3.     Entropic is the owner by assignment to all right, title, and interest to the
17 Patents-in-Suit. Entropic is the successor-in-interest of the Patents-in-Suit.
18         4.     Upon information and belief, Comcast Corp. is a corporation organized
19 and existing under the laws of Pennsylvania, with a principal place of business at
20 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103.
21         5.     Comcast Corp. has, as its registered agent in California, CT Corporation
22 System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
23         6.     Comcast Corp., along with the other defendants, develops, markets, sells,
24 offers for sale and/or provides “Comcast” and “Xfinity” branded cable television
25 services and equipment to customers.
26         7.     Comcast Communications is a limited liability company organized and
27 existing under the laws of Delaware, with a principal place of business at 1701 JFK
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 4 of 81 Page
                                     ID #:3678



 1 Boulevard, Philadelphia, Pennsylvania 19103. Upon information and belief, Comcast
 2 Communications is a subsidiary of Comcast Corp.
 3         8.    Comcast Communications has, as its registered agent in California,
 4 CT Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
 5         9.    Comcast Communications, along with the other defendants, develops,
 6 markets, sells, offers for sale and/or provides “Comcast” and “Xfinity” branded cable
 7 television services and equipment to customers.
 8         10.   Comcast Management is a limited liability company organized and
 9 existing under the laws of Delaware, with a principal place of business at 1701 JFK
10 Boulevard, Philadelphia, Pennsylvania 19103. Upon information and belief, Comcast
11 Management is a subsidiary of Comcast Corp.
12         11.   Comcast Management has, as its registered agent in California, CT
13 Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
14         12.   Comcast Management, along with the other defendants, develops,
15 markets, sells, offers for sale and/or provides “Comcast” and “Xfinity” branded cable
16 television services and equipment to customers.
17         13.   Comcast Corp. and/or Comcast Communications owns or leases, and
18 maintains and operates, several stores in this district by and through subsidiary limited
19 liability companies that they own, manage, and control, including Comcast of Santa
20 Maria, LLC and Comcast of Lompoc LLC. Upon information and belief, Comcast
21 Corp. and/or Comcast Communications (and/or other personnel employed by them)
22 negotiates and signs agreements on behalf of each of these entities.
23         14.   Upon information and belief, Comcast Corp. and/or Comcast
24 Communications are the corporate managers of their subsidiary LLCs that own or
25 lease property in this district, and that own, store, sell, demonstrate, and lease
26 equipment in this district. Comcast Corp. and/or Comcast Communications have the
27 right to exercise near total control of each entity’s operations through its LLC
28 agreements with each entity.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES      Document 128-22      Filed 12/08/23   Page 5 of 81 Page
                                     ID #:3679



 1         15.    In each of those stores, Comcast Corp. and/or Comcast Communications
 2 owns and stores equipment such as cable modems and set top boxes (“STBs”),
 3 including the Accused Cable Modem Products (defined below), Accused Set Top
 4 Products (defined below) and demonstrates servicesthe Accused Services (defined
 5 below) provided via those products to Comcast customers by and through subsidiary
 6 limited liability companies that it manages and controls.
 7         16.    Upon information and belief, Comcast Corp. and/or Comcast
 8 Communications employs personnel that install, service, repair and/or replace
 9 equipment, as appropriate, in this district by and through subsidiary limited liability
10 companies that it manages and controls.
11         17.    Upon information and belief, Comcast Corp. and/or Comcast
12 Communications have two wholly owned subsidiaries in this Judicial District of
13 Central California (“District”) that serve as their agents.
14         18.    Comcast of Santa Maria, LLC (“Comcast Santa Maria”) is a limited
15 liability company organized and existing under the laws of Pennsylvania, with a
16 principal place of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103.
17 Comcast Santa Maria is a subsidiary of Comcast Corp.
18         19.    Comcast Santa Maria, along with the other defendants, markets, sells,
19 offers for sale and/or provides “Comcast” and “Xfinity” branded cable television
20 services and equipment to customers.
21         20.    Comcast of Lompoc, LLC (“Comcast Lompoc”) is a limited liability
22 company organized and existing under the laws of Pennsylvania, with a principal
23 place of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103. Comcast
24 Lompoc is a subsidiary of Comcast Corp.
25         21.    Comcast Lompoc, along with the other defendants, markets, sells, offers
26 for sale and/or provides “Comcast” and “Xfinity” branded cable television services
27 and equipment to customers.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES      Document 128-22    Filed 12/08/23   Page 6 of 81 Page
                                     ID #:3680



 1           22.   Upon information and belief, Comcast Communications, Comcast,
 2 Management, Comcast Santa Maria, and Comcast Lompoc are the agents of Comcast
 3 Corp. Upon information and belief, Comcast Corp. has complete and total control
 4 over its agents Comcast Communications, Comcast Management, Comcast Santa
 5 Maria, and Comcast Lompoc. On information and belief, Comcast Corp. shares
 6 management, common ownership, advertising platforms, facilities, distribution chains
 7 and platforms, stores, and accused product lines and products involving related
 8 technologies with its agents, including at least Comcast Communications, Comcast
 9 Management, Comcast Santa Maria, and Comcast Lompoc.
10           23.   For example, Comcast Corp., Comcast Communications, Comcast
11 Management, Comcast Santa Maria, and Comcast Lompoc all have the same principal
12 place of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103.
13           24.   The Comcast “Xfinity Residential Services Agreement” purports to bind
14 Comcast’s customers, including those customers in this District, to an agreement with
15 Comcast Communications for, inter alia, the Accused Services that Comcast’s
16 customers receive through the infringing use of the Accused Cable Modem Products
17 and the Accused Set Top Products.1 This agreement further provides that an entity
18 other than Comcast Communications provides the services. Upon information and
19 belief, the entity that provides the services to Comcast’s customers and subscribers is
20 Comcast Management.
21           25.   Comcast Management further shares a leadership team with Comcast
22 Corp.2 For example, Brian Roberts is the Chairman and Chief Executive Officer of
23   1
         https://www.xfinity.com/Corporate/Customers/Policies/SubscriberAgreement.
24   2
        Compare        names     found    in     Exhibit   A     to     the    attached
25 https://www.cpuc.ca.gov/-/media/cpuc-website/divisions/communications-division/do
   cuments/video-franchising-and-broadband-analysis/video-franchising-main/applicatio
26
   ns-received--by-the-puc/2022/20220926-comcast-48a/comcast-48a-application.pdf
27 with the bios of the identified personnel at Comcast’s corporate leadership website,
   https://corporate.comcast.com/company/leadership.
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                                   -4-
          FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 7 of 81 Page
                                     ID #:3681



 1 both Comcast Management and Comcast Corp.; Daniel Murdock is Executive Vice
 2 President and Chief Accounting Officer of both Comcast Corp. and Comcast
 3 Management; Francis Buono is Executive Vice President of Legal Regulatory Affairs
 4 and Senior Deputy General Counsel of both Comcast Corp. and Comcast
 5 Management; and Karen Buchholz is Executive Vice President, Administration of
 6 both Comcast Corp. and Comcast Management.
 7                               PRE-SUIT DISCUSSIONS
 8         26.   Prior to filing this Complaint, Entropic sent a communication by physical
 9 means to Comcast on August 9, 2022, in an attempt to engage Comcast and/or its
10 agents in good faith licensing discussions regarding Entropic’s patent portfolio,
11 including the Patents-in-Suit.3 Comcast replied to the communication on October 10,
12 2022, asking for additional information. On December 23, 2022, Entropic sent
13 Comcast another communication regarding a separate license to Entropic’s patents for
14 the field of the standardized networking technology commonly called MoCA, and also
15 seeking to discuss with Comcast a typical non-disclosure agreement in order to share
16 such information.
17                 ENTROPIC’S LEGACY AS A CABLE INNOVATOR
18         27.   Entropic      Communications        Inc.    (“Entropic     Inc.”),      the
19 predecessor-in-interest to Plaintiff Entropic as to the Patents-in-Suit, was founded in
20 San Diego, California in 2001 by Dr. Anton Monk, Itzhak Gurantz, Ladd El Wardani
21 and others. Entropic Inc. was exclusively responsible for the development of the
22 initial versions of the Multimedia over Coax Alliance (“MoCA”) standards, including
23 MoCA 1.0, ratified in 2006 and MoCA 1.1, ratified in 2007, and was instrumental in
24 the development of MoCA 2.0, ratified in 2010. It also developed Direct Broadcast
25 Satellite (“DBS”) Outdoor Unit (“ODU”) single wire technology and System-on-Chip
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     3
27     The ’206 Patent was not included in the list of issued Entropic patents discussed in
     the communication sent on August 9, 2022.
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         FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 8 of 81 Page
                                  ID #:3682
Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 9 of 81 Page
                                  ID #:3683
 Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 10 of 81
                               Page ID #:3684



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      FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
 Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 11 of 81
                               Page ID #:3685



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      FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 12 of 81
                              Page ID #:3686
 Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 13 of 81
                               Page ID #:3687



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      FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22      Filed 12/08/23   Page 14 of 81
                                    Page ID #:3688



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16      B. C. Comcast Has, and Continues, to Willfully and Intentionally Infringe
17         Entropic’s Patentsthe Patents-in-Suit
18         67.    60. The Patents-in-Suit are the result of years of research and
19 development in satellite and cable technology. These innovations are utilized by
20 Comcast to provide enhanced and expanded services to customers, which in turn has
21 increased revenues for Comcast while at the same time reducing costs.
22         68.    Comcast invested in Entropic Inc. once in 2003, and again in 2006.
23         69.    Upon information and belief, Comcast substantively reviewed and
24 analyzed Entropic Inc.’s patents and patent applications related to the Patents-in-Suit
25 as part of its due diligence prior to investing in Entropic Inc.
26         70.    In addition, Comcast has willfully infringed the Patents-in-Suit in at least
27 the following ways.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 15 of 81
                                   Page ID #:3689



 1         1. The Charter Suits
 2         71.   61. Entropic filed aOn information and belief, Comcast had knowledge
 3 of its infringement of certain of the Patents-in-Suit based on its awareness of the
 4 patent infringement suit filed by Entropic against Charter Communications, Inc.
 5 (“Charter”) in the Eastern District of Texas, Case No. 2:22-CV-00125-JRG (“the
 6 Charter Suit”), on April 27, 2022, asserting. This suit against Charter asserted the
 7 ’775 Patent, the ’690 Patent, the ’008 Patent, the ’362 Patent, the ’826 Patent, and the
 8 ’682 Patent against Charter’s provision of cable television and internet services, cable
 9 modem products and STBs.
10         72.   On information and belief, Comcast had knowledge of its infringement of
11 certain of the Patents-in-Suit based on its awareness of the patent infringement suit
12 filed by Entropic against Charter in the Eastern District of Texas, Case No.
13 2:23-CV-00052-JRG, on February 10, 2023. This second suit against Charter asserted
14 the ’866 Patent and the ’206 Patent against Charter’s provision of cable television and
15 internet services, cable modem products and STBs. The complaint was amended on
16 October 31, 2023, to assert the ’275 Patent and ’438 Patent against Charter.
17         73.   Both Charter and Comcast are part of the close-knit business community
18 that is the cable industry, which is led by key industry players. These key players
19 work collaboratively to develop new technology and programs to drive the industry
20 forward, including through organizations like MoCA and the Society of Cable
21 Telecommunications Engineers.
22         74.      Comcast and Charter actively collaborate together, have monthly
23 meetings across various departments, and have even collaborated together on accused
24 technologies. Specifically, Comcast and Charter have collaborated together on Profile
25 Management Application (“PMA”) technology and the implementation of full band
26 capture.
27         75.   Comcast’s PMA implementation infringes the ’682 Patent in
28 substantially the same manner as Charter’s PMA implementation. Given the amount
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 16 of 81
                                   Page ID #:3690



 1 of collaboration that occurs between Charter and Comcast, Comcast was aware of the
 2 accusations against Charter’s PMA implementation.
 3         76.   Comcast’s implementation of remote spectrum monitoring functionality
 4 in its Proactive Network Maintenance (“PNM”) system infringes the ’008 and ’826
 5 Patents in substantially the same manner as Charter’s implementation of remote
 6 spectrum monitoring in its PNM system. Given the amount of collaboration that
 7 occurs between Charter and Comcast, Comcast was aware of the accusations against
 8 Charter’s implementation of remote spectrum monitoring in its PNM system.
 9 Additionally, Comcast collects information regarding the upstream channels as part of
10 the operation of its network, in a similar manner as Charter. This collection of
11 information regarding the upstream channels as part of the operation of a cable
12 network infringes the ’690 Patent.
13         77.   Comcast’s usage of full band capture-enabled cable modems and STBs
14 infringes the ’362, ’866, ’206 and ’275 Patents in substantially the same manner as
15 Charter’s usage of full band capture-enabled cable modems and STBs. Given the
16 amount of collaboration that occurs between Charter, Comcast and its common
17 supplied of the cable modems, STBs and underlying full band capture
18 system-on-chips (or SoCs), Comcast was aware of the accusations against Charter’s
19 usage of full band capture-enabled cable modems and STBs.
20         78.   Comcast uses cable modem termination system (“CMTS”) hardware and
21 software as part of its cable network.
22         79.   Comcast and Charter also collaborate together at events for the Society of
23 Cable Telecommunications Engineers (“SCTE”), of which both Comcast and Charter
24 are members. Among other things, Comcast and Charter participate in panels together,
25 share data and achievements related to SCTE, and work on peer-reviewed papers
26 together.
27         80.   Charter and Comcast also “team up” to offer streaming devices and other
28 technology to customers. Indeed, The New York Times published an article about
                                 -14-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22      Filed 12/08/23   Page 17 of 81
                                    Page ID #:3691



 1 such a joint venture between Comcast and Charter on April 27, 2022, the very same
 2 day that the first suit against Charter was filed.
 3         81.    As evidenced by this article, Comcast knows that Charter utilizes
 4 technology that functions almost identically to Comcast’s technology.
 5         82.    Among other things, Charter and Comcast utilize similar product
 6 offerings that incorporate the same technologies. Charter and Comcast purchase their
 7 products, including cable modems, STBs, and CMTS hardware and software, from the
 8 same third parties. These products utilize the same or similar SoCs and other
 9 processors and provide similar functionality. For example, both Charter and Comcast
10 provide whole-home DVR solutions utilizing MoCA to create an in-home network
11 over the on-premises coaxial cabling. Similarly, both Charter and Comcast utilize
12 cable modems having Broadcom BCM3390 SoCs and STBs utilizing a combination
13 of Broadcom full-band capture SoCs to interface with the cable network and STB
14 SoCs to decode and display television content.
15         83.    For example, one supplier of STBs, Arris, provides the DCX3600 to both
16 Comcast and Charter.         Comcast refers to the Arris DCX3600 as the Arris
17 MX011ANM or XG1-A, and Charter refers to it simply as the Arris DCX3600. An
18 image of the circuit board included in the Arris DCX3600 is shown below, clearly
19 showing both the DCX3600 and XG1 branding:
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  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23    Page 18 of 81
                                    Page ID #:3692



 1         84.   The two Charter suits discussed herein asserted the same patents and
 2 involved largely the same technology as is at issue in this action.
 3         85.   Given the close business relationship between Comcast and Charter, as
 4 well as the joint ventures that Comcast was pursuing with Charter when these suits
 5 were filed against Charter, Comcast was almost certainly aware of their filings.
 6         86.   62. Upon information and belief, and based on Comcast’s awareness of
 7 the substantial similarities between Comcast’s and Charter’s technology and products,
 8 Comcast analyzed the claims in theasserted against Charter Suit, the Patents-in-Suit,
 9 and the asserted patentsAccused Products.
10         87.   63. Upon information and belief, Comcast then analyzed its own
11 products’ functionality in light of the patents asserted inagainst Charter, and it
12 confirmed that its own products were functionally identical to the Charter
13 Suitproducts accused.
14         88.   64. Upon information and belief, Comcast monitored the ongoing
15 prosecution of the ’362 Patent family, and therefore was aware of the U.S. Patent No.
16 11,381,866 (the “’866 Patent”) issued on July 5, 2022, and U.S. Patent No.
17 11,399,206 (the “’206 Patent”) issued on July 26, 2022.
18         89.   65. Upon information and belief, Comcast analyzed its products’
19 functionality in light of the ’866 Patent.
20         90.   66. Upon information and belief, Comcast analyzed its products’
21 functionality in light of the ’206 Patent.
22         91.   Upon information and belief, Comcast thereafter determined that its
23 products infringe the Patents-in-Suit in substantially the same manner as Charter.
24         92.   Nevertheless, Comcast continued to make, sell, or offer for sell the
25 infringing products.
26         93.   67. Upon information and belief, Comcast requested indemnification
27 from Comcast’s suppliers for each of the patents asserted against Charter, including
28 the MoCA relatedMoCA-related patents, prior to Entropic filing the current action.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22        Filed 12/08/23   Page 19 of 81
                                    Page ID #:3693



 1         94.   Comcast’s request for indemnification evidences its knowledge of the
 2 risk that it infringed at least Entropic’s Non-SEP Patents, and that a suit similar to the
 3 Charter Suit was likely to be initiated against Comcast.
 4         2. The DISH and DirecTV Suits
 5         95.   68. Entropic filed a patent infringement suit against Dish Network
 6 Corporation, DISH Network, LLC, and Dish Network Service, LLC (collectively,
 7 “Dish”) in the Eastern District of Texas, Case No. 2:22-CV-00076, on March 9, 2022,
 8 asserting infringement of three Entropic patents, including the ’008 Patent (the “Dish
 9 Suit”).
10         96.   69. Entropic filed a patent infringement suit against DirecTV, LLC,
11 AT&T, Inc., AT&T Services, Inc., and AT&T Communications, LLC in the Eastern
12 District of Texas, Case No. 2:22-CV-00075 on March 9, 2022, asserting infringement
13 of three Entropic patents, including the ’008 Patent (the “DirecTV Suit”).
14         97.   70. Upon information and belief, Comcast discussedcontacted RPX
15 Corporation (“RPX”) regarding the Charter Suit, Dish Suit, and DirecTV Suit with
16 RPX Corporation (“RPX”)after being served with the complaint in these actions.
17 Either before or shortly after its discussions with RPX, Comcast substantively
18 reviewed and analyzed the patents asserted in the Charter Suit, Dish Suit, and
19 DirecTV Suit.
20         71. Upon information and belief, Comcast subsequently suggested that RPX
21 reach out to Entropic to try to resolve the matters.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 20 of 81
                                   Page ID #:3694



 1         3. Comcast’s Relationship with MaxLinear
 2         98.   Comcast has willfully infringed the Patents-in-Suit based on knowledge
 3 it gained from Patrick Tierney. Tierney, one of the named inventors of the ’008
 4 Patent and ’826 Patent, now works at Comcast. Accordingly, upon information and
 5 belief, Comcast knew of the aforementioned Patents-in-Suit as early as the day Patrick
 6 Tierney was hired. For example, upon information and belief, Comcast looked at
 7 patents which named Patrick Tierney as an inventor as part of the process of
 8 determining whether to offer him employment at Comcast.
 9         99.   Patrick Tierney and other MaxLinear employees frequently met with
10 Comcast and discussed the technologies of both MaxLinear and Entropic Inc. that
11 practiced the Patents-in-Suit. Thus, Patrick Tierney was well aware of the technology
12 and functionality of the Patents-in-Suit.
13         100. Indeed, before his employment at Comcast, Patrick Tierney often met
14 with Comcast personnel to discuss new technology for which MaxLinear and Entropic
15 Inc. had recently applied for or received patent protection.
16         101. For example, Patrick Tierney met with Sam Chernak of Comcast on
17 December 20, 2012, less than a month after the ’566 Patent issued. Upon information
18 and belief, Mr. Tierney told Mr. Chernak about the ’566 Patent.
19         102. As another example, Comcast met with MaxLinear to ask MaxLinear to
20 support a low cost D3 modem on January 20, 2013, less than a month after the ’681
21 Patent issued.
22         103. In his role at Comcast, on information and belief, Patrick Tierney shared
23 what he knew about the functionality and operation of the Patents-in-Suit with other
24 Comcast personnel, so that Comcast could continue to create products that infringe
25 upon the Patents-in-Suit.
26         104. Comcast also learned about the functionality of the Patents-in-Suit
27 through other events it attended, including the 2015 International Broadcasting
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                                 -18-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 21 of 81
                                   Page ID #:3695



 1 Convention, where MaxLinear presented information about new products and
 2 technology that implemented the Patents-in-Suit.
 3         105. MaxLinear also held several business discussions with Comcast in 2015,
 4 wherein MaxLinear discussed its products and technology that implemented the
 5 Patents-in-Suit and explained how that technology could benefit Comcast’s business.
 6         106. Specifically, MaxLinear gave a presentation to Comcast in March 2015
 7 wherein it discussed confidential, new technology being developed by MaxLinear and
 8 Entropic Inc. MaxLinear’s March 2015 presentation specifically referenced that
 9 much of this technology was covered by “[a]lmost 2000 issued and pending patents.”
10         107. Finally, Comcast has been willfully infringing since at least October
11 2021, when it intentionally misappropriated MaxLinear’s technology and related
12 patents by disclosing that information to MaxLinear’s competitor.
13         108.   In 2020, Comcast began pursuing full duplex (“FDX”) technology to
14 implement DOCSIS 4.0, which was intended to enable higher speeds for both
15 downstream and upstream communications.
16         109. However, Comcast soon realized that the only then-viable FDX
17 architecture could not be deployed to serve the majority of Comcast’s network.
18         110. Comcast turned to MaxLinear to solve this problem, as MaxLinear was a
19 well-known innovator in the FDX space. Indeed, since at least 2016, Comcast itself
20 acknowledged that MaxLinear was the only company able to deliver viable FDX
21 technology.
22         111. In 2020, after entering into a non-disclosure agreement, MaxLinear
23 shared its confidential FDX technologies with Comcast in the hopes of expanding
24 their business relationship.
25         112. On information and relief, Comcast knew that MaxLinear’s disclosures
26 regarding the FDX technology were confidential and were owned by MaxLinear,
27 including by virtue of the non-disclosure agreement signed by Comcast, as well as the
28 confidentiality designations MaxLinear marked its FDX disclosures with.
                                 -19-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23    Page 22 of 81
                                    Page ID #:3696



 1         113. On information and belief, in October 2021, Comcast nevertheless took
 2 credit for MaxLinear’s technology in a published article.             See Elad Nafshi,
 3 Announcing Another 10G Milestone Amidst a Flurry of Innovation, Comcast (Oct. 14,
 4 2021), https://tinyurl.com/yphyu6a9.
 5         114. In September 2022, Richard Prodan, one of the Comcast employees who
 6 attended and received copies of MaxLinear’s confidential presentation on the design
 7 of its FDX-amplifier solution, published an industry paper that described an
 8 FDX-amplifier design that was materially identical to the one MaxLinear developed
 9 and confidentially shared with Comcast.
10         115. On information and belief, Comcast was aware that its use of
11 MaxLinear’s FDX technology infringed the Non-SEP Patents, including by virtue of
12 their longstanding business relationship during which MaxLinear had given
13 presentations    to   Comcast    that   stated   that   MaxLinear’s    technology     was
14 patent-protected.
15         116. At the very least, Comcast was willfully blind to the fact that its
16 misappropriation of MaxLinear’s FDX technology infringed upon the Patents-in-Suit.
17         4. Comcast’s Willful Infringement of Specific Patents-in-Suit
18         117. Upon information and belief, Comcast substantively reviewed and
19 analyzed Entropic’s U.S. Patent No. 8,223,775 (the “’775 Patent”), duly issued on
20 July 17, 2012 from an application filed September 30, 2003, as part of its due
21 diligence prior to investing in Entropic in 2006.
22         118. Accordingly, upon information and belief, no later than the day prior to
23 its latest investment in Entropic in 2006, Comcast knew or had every reason to know
24 that Entropic owned the ’775 Patent. Because Comcast knew of the ’775 Patent and
25 substantively reviewed its claims, Comcast began willfully infringing the ’775 Patent
26 no later than the dates it began offering its cable modem products and services, having
27 knowledge that such use and deployment infringed the ’775 Patent.
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                                 -20-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22      Filed 12/08/23   Page 23 of 81
                                   Page ID #:3697



 1         119. As addressed above, Comcast has willfully infringed at least the ’362
 2 patent, the ’826 patent, and the ’206 patent through its knowledge gained from the
 3 Charter litigation, and was aware of (and substantively analyzed its infringement of)
 4 the other Patents-in-Suit no later than the letter sent by Entropic in August 2022.
 5         120. 73. Comcast has also willfully infringed two other MaxLinearat least the
 6 ’682 Patent as evidenced by its own patents no later than March 20, 2019.
 7 Specifically,that cite to U.S. Patent No. 10,582,515 assigned to and prosecuted by
 8 Comcast cites to two patents assigned to MaxLinear, U.S. Patent Nos. 9,178,765 and
 9 9,419,858. These two MaxLinear patents were cited by the examiner in a non final
10 rejection on March 20, 2019. On information and belief, Comcast infringes at least
11 claim 1 of both the ’765 and ’858 patents. On information and belief, no later than that
12 date, Comcast substantively reviewed and analyzed the ’765 and ’858 patents. On
13 information and belief, Comcast has willfully infringed the ’765 and ’858 patents
14 beginning no later than March 20, 2019.9,419,858 (the ’858 Patent”), which is the
15 ultimate parent of the ’682 Patent. Specifically, Comcast’s patents including U.S.
16 Patent No. 11,191,087; U.S. Patent No. 10,582,515; U.S. Patent No. 11,758,574 cite
17 the ’858 Patent.
18         121. Comcast’s reference to the ’858 Patent, which is closely related to and
19 involves similar technology and functionality as the ’682 Patent, evidences Comcast’s
20 awareness that it infringes upon ’682 Patent.
21         122. Further, Comcast filed an application for U.S. Patent No. 9,178,765 on
22 July 23, 2013, in the same month that the application for the ’682 Patent was filed.
23 On information and belief, Comcast was aware of the ’682 Patent based on the
24 investigation it undertook during the application and prosecution process for U.S.
25 Patent No. 9,178,765. Thus, Comcast has willfully infringed the ’682 Patent since at
26 least July 23, 2013.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 24 of 81
                                   Page ID #:3698



 1         123. Accordingly, Comcast either knew about the Patents-in-Suit, or
 2 alternatively engaged in a scheme to be willfully blind to the existence of the
 3 Patents-in-Suit.
 4       C. 1. Comcast Willfully Infringed, and Continues to Infringe, Entropic’s
 5         MoCA Patents7
 6         124. 74. Comcast invested in Entropic Inc. once in 2003, and again in 2006.
 7         125. 75. Upon information and belief, Comcast substantively reviewed and
 8 analyzed Entropic’sEntropic Inc.’s patents and patent applications related to the
 9 Entropic’sEntropic Inc.’s MoCA standard patents as part of its due diligence prior to
10 investing in Entropic Inc.
11         126. 76. Upon information and belief, the patents and patent applications that
12 Comcast analyzed prior to investing in Entropic include at least the following patents:
13 U.S. Patent No. 7,295,518 (the “’518 Patent”), duly issued on November 13, 2007
14 from an application filed December 18, 2002, an application filed August 19, 2002
15 and, inter alia, a provisional application filed August 30, 2001; U.S. Patent No.
16 7,594,249, duly issued on September 22, 2009 from an application filed July 21, 2001,
17 and a provisional application filed May 4, 2001; U.S. Patent No. 7,889,759 (the
18 “’759 Patent”), duly issued on February 15, 2011 from an application filed July 12,
19 2004, an application filed August 29, 2002, and, inter alia a provisional application
20 filed August 30, 2001; U.S. Patent No. 8,085,802, duly issued on December 27, 2011
21 from an application filed December 2, 2005, and a provisional application filed
22 December 2, 2004; U.S. Patent No. 8,631,450, duly issued on January 14, 2014, from
23 an application filed September 19, 2005 and, inter alia, a provisional application filed
24 December 2, 2004; U.S. Patent No. 8,621,539, duly issued on December 31, 2013
25 from an application filed September 29, 2005 and, inter alia, a provisional application
26
     7
27    The MoCA Patents are set forth in Entropic’s concurrently filed action, Entropic v.
     Comcast, et al., Case No. 2:23-cv-1048-JWH-KES (C.D. Cal. 2023).
28
                                  -22-
         FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22    Filed 12/08/23   Page 25 of 81
                                    Page ID #:3699



 1 filed December 2, 2004; U.S. Patent No. 10,257,566, duly issued on April 9, 2019
 2 from an application filed February 7, 2017, an application filed September 19, 2005,
 3 and inter alia, a provisional application filed December 2, 2004 (collectively, the
 4 “Pre-Investment MoCA Patents”). On information and belief, Comcast knew, based
 5 on its own analysis and also potentially statements from Entropic itself, that these
 6 patents were standard-essential to MoCA, such that practicing the MoCA standard
 7 would infringe these patents.
 8         127. 77. Upon information and belief, no later than the day prior to its latest
 9 investment in Entropic in 2006, Comcast knew or had every reason to know that
10 Entropic owned the Pre-Investment MoCA Patents related to the MoCA technology
11 such that deployment of MoCA standard-compliant devices would infringe patents
12 owned by Entropic.
13         128. 78. Upon information and belief, no later than the day prior to its latest
14 investment in Entropic in 2006, any reasonable commercial party in Comcast’s
15 position, with Comcast’s knowledge, would know that deployment of MoCA
16 standard-compliant devices would infringe on the Pre-Investment MoCA Patents
17 owned by Entropic. On information and belief, Comcast continued to monitor and
18 analyze Entropic’s MoCA-related patents and was aware of later-filed patents that are
19 standard-essential to MoCA simply due to the importance of MoCA to Comcast’s
20 business and Comcast’s later involvement as a board member of MoCA.
21         129. 79. No later than 2010 and continuing to the present, Comcast has used
22 products that provide signals, programming and content utilizing a data connection
23 carried over a coaxial cable network in accordance with the MoCA standards,
24 including at least the Arris DCX3200, DCX3400, DCX3500, XG1-A, XG1v3,
25 XG1v4, XG2v2, Arris MR150CNM, Pace PR150BNM, Pace PX032ANI, Pace
26 PXD01ANI, Samsung SR150BNM, and similarly operating devices. Because
27 Comcast was already aware of Entropic’s Pre-Investment MoCA patents and knew
28 that those patents were standard-essential, Comcast knew that its use of these devices
                                 -23-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES         Document 128-22        Filed 12/08/23   Page 26 of 81
                                      Page ID #:3700



 1 would directly infringe the Pre-Investment MoCA patents. Despite this knowledge,
 2 Comcast willfully infringed the Pre-Investment Patents beginning no later than 2010.
 3            1. Comcast’s Involvement in MoCA
 4            130. 80. Upon information and belief, Comcast was involved with and/or a
 5 member of MoCA from the earliest days of the MoCA, through at least August 2019.
 6 Indeed, Comcast was a member of the MoCA board of directors.68
 7            81. Entropic filed a patent infringement suit against ViXS Systems, Inc. and
 8 ViXS         USA,    Inc.   in   the   Southern      District   of   California,   Case   No.
 9 13 CV 1102 WQHBGS (“the ViXS Suit”), on May 8, 2013, asserting infringement of
10 the ’759 Patent and the ’518 Patent. Both patents are essential to the standards
11 developed and promulgated by MoCA.
12            131. As an early and active member of MoCA, Comcast helped to develop the
13 MoCA standard, and therefore would have been knowledgeable about the technology
14 essential to the practice of that standard.
15            132. Upon information and belief, Comcast was aware that Entropic, its close
16 partner in the endeavor to grow and developed the MoCA standard, owned patents for
17 its technology that was MoCA-standard-compliant. 9
18            133. Specifically, Comcast would have been aware of at least the ’249 Patent,
19 which was filed on July 21, 2001; the ’518 Patent, which was filed on December 18,
20 2002; the ’759 Patent, which was filed on July 24, 2004; the ’450 Patent, which was
21 filed on September 19, 2005; the ’539 Patent, which was filed on September 29, 2005;
22 and the ’802 Patent, which was filed on December 2, 2005. These Patents, all of
23 which are essential to the practice of the MoCA standard, were filed during the time
24 that MoCA was being developed by Entropic Inc., Comcast, and others.
25   68
          See https://mocalliance.org/about/faqs.php.
26   9
    See
27 https://www.sec.gov/Archives/edgar/data/1227930/000122793015000006/entr201412
   3110-k.htm.
28
                                    -24-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22      Filed 12/08/23   Page 27 of 81
                                    Page ID #:3701



 1         134. 82. Upon information and belief, as a member of MoCA, Comcast
 2 analyzed the claims in the ViXS Suit and the asserted patents.no later than the day
 3 prior to its latest investment in Entropic in 2006, any reasonable commercial party in
 4 Comcast’s position, with Comcast’s knowledge, would perceive a substantial
 5 likelihood that deployment of MoCA standard-compliant devices would infringe on
 6 Pre-Investment Patents owned by Entropic.
 7         135. On information and belief, Comcast continued to monitor and analyze
 8 Entropic’s MoCA-related patents and was aware of later-filed patents that are
 9 standard-essential to MoCA simply due to the importance of MoCA to Comcast’s
10 business and Comcast’s later involvement as a board member of the MoCA.
11         83. Upon information and belief, Comcast analyzed its products’ functionality
12 in light of the patents asserted in the ViXS Suit.
13         84. Because Comcast already was using and deploying devices practicing the
14 MoCA standards (and continued to do so), Comcast willfully infringed the ’759 and
15 ’518 Patents no later than May 8, 2013, after substantively analyzing the complaint
16 and asserted patents from the ViXS suit.
17         136. 85. As a member of the MoCA, Comcast was well aware that Entropic,
18 the owner of the MoCA Patents in the ViXS Suit, was the leading contributor of
19 technology to the standards promulgated by MoCA, which are implicated by the
20 claims of patent infringement in the ViXS Suitherein. Indeed, Comcast was aware
21 that, at the time, Entropic was the only entity capable of developing the technology
22 necessary to practice the MoCA standard.
23         86. Upon information and belief, Comcast therefore knew that MaxLinear and
24 Entropic Communications Inc. were significant players in MoCA.
25         137. 87. Upon information and belief, Comcast knew that MoCA
26 standard-compliant devices had tremendous success, given itsthe public success
27 through Verizon Wireless’s deployment of Fios.
28
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 28 of 81
                                   Page ID #:3702



 1         138. Comcast also willfully infringed the ’518 Patent by virtue of its
 2 involvement in MoCA. On October 28, 2008, Anton Monk, the Vice President of
 3 Technology for Entropic Inc., disclosed Entropic Inc.’s ownership of the ’518 Patent
 4 via email to the MoCA Board of Directors.
 5         139. Attached to this email was a document entitled “Disclosure of Intellectual
 6 Property,” which represents to the MoCA Board of Directors that the ’518 Patent was
 7 essential to the practice of the MoCA standard.
 8         140. On information and belief, Comcast was a member of the Board at the
 9 time and therefore received this notice from Entropic.
10         141. Comcast therefore had direct notice of the ’518 Patent and that the ’518
11 Patent is essential to the practice of the MoCA standard.
12         142. The ’759 Patent is a continuation-in-part of the ’518 Patent. Given the
13 close relationship between the ’759 Patent and the ’518 Patent, Comcast also was on
14 notice that the ’759 Patent was owned by Entropic Inc. and is essential to the practice
15 of the MoCA standard.
16         143. At the very least, Comcast engaged in a scheme to be willfully blind to
17 the existence of the ’759 Patent and the fact that it is essential to the practice of
18 MoCA standard based on its relation to the ’518 Patent.
19         2. Comcast’s Relationship with MaxLinear
20         144. 88. Comcast and MaxLinear, Inc. were engaged in a longstanding
21 commercial relationship for years. Upon information and belief, Comcast knew that
22 MaxLinear, Inc. was a member of MoCA since at least 2011.
23         145. 89. Comcast and MaxLinear, Inc. were both board members of MoCA
24 from at least 2015 through August 2019. By virtue of Comcast’s participation in
25 MoCA and its ongoing, extensive use of MoCA standards, on information and belief,
26 Comcast monitored and reviewed the publication and issuance of patents that would
27 be standard-essential, including MaxLinear and Entropic Communications Inc.
28 patents. Because Comcast was using the devices that practiced the MoCA standards,
                                 -26-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22    Filed 12/08/23   Page 29 of 81
                                   Page ID #:3703



 1 Comcast willfully infringed each MaxLinear and Entropic Communications Inc.
 2 patent that was standard-essential to MoCA no later than shortly after the issuance of
 3 those patents. To the extent Comcast did not engage in such review, it constitutes
 4 willful blindness to patent infringement due to Comcast’s knowledge of the
 5 foundational role and contributions of Entropic Communications Inc. and MaxLinear
 6 to the MoCA standards.
 7         90. Upon information and belief, Comcast was aware that Entropic
 8 Communications Inc. owned patents that were and are essential to the practice of the
 9 MoCA standard.7
10         146. 91. At least as early as January 1, 2020, Comcast knew that MaxLinear
11 owned patents that were essential to practicing the technology embodied in one or
12 more standards promulgated by MoCA.
13         147. 92. Comcast knew that MaxLinear acquired Entropic Communications
14 Inc. and its patents in 2015.810 Because Comcast already knew it was willfully
15 infringing patents owned by Entropic Communications Inc., Comcast therefore knew
16 that it was willfully infringing patents that were standard-essential to MoCA that now
17 were owned by MaxLinear no later than 2015.
18         148. 93. No later than the day prior to signing the VSA with MaxLinear, Inc.,
19 Comcast knew or had every reason to know that MaxLinear, Inc. owned patents
20 related to the MoCA technology such that deployment of MoCA standard-compliant
21 devices would infringe on patents owned by                                MaxLinear.
22 To the extent Comcast did not investigate whether it infringed such patents, Comcast
23 was willfully blind to its infringement of patents owned by its long-time business
24 partner, MaxLinear.
25   7
    See
26 https://www.sec.gov/Archives/edgar/data/1227930/000122793015000006/entr201412
   3110 k.htm.
27
   810
       See https://investors.maxlinear.com/annual-reports?form_type=10-K&year=.
28
                                  -27-
         FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22   Filed 12/08/23   Page 30 of 81
                                     Page ID #:3704



 1         149.
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 5         150.
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11         151.
12
13                                                                              related to
14 non-standardized technologies deployed in the cable television and/or cable internet
15 businesses, technologies that Comcast uses and deploys.
16         152. Despite this knowledge, Comcast continued to use and deploy devices
17 practicing the MoCA standards and therefore willfully infringinginfringed patents
18 owned by MaxLinear, including at least the MoCA Patents.
19         153. 95. Accordingly, Comcast either knew about the MoCA Patents, or
20 alternatively engaged in a scheme to be willfully blind to the existence of such
21 Patents, as set forth in the concurrently filed Entropic Communications, Inc. v.
22 Comcast Corporation, et al., No. 2:23 cv 1048 JWH KES (C.D. Cal. 2023)the MoCA
23 Patents. Comcast therefore willfully infringed at least the Pre-Investment MoCA
24 Patents, and the later-issued MoCA patents, and the patents asserted in the ViXS case
25 no later than the day prior to
26                2. Comcast Willfully Infringed, and Continues to Infringe,
27         Entropic’s Patents in Suit
28
                                 -28-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22        Filed 12/08/23   Page 31 of 81
                                   Page ID #:3705



 1        154. Upon information and belief, in addition to the knowledge as set forth
 2 above, one of the named inventors of the ’008 Patent and ’826 Patent, as set forth in
 3 Entropic’s    concurrently    filed    action    Entropic    v.   Comcast,      et    al.,   No.
 4 2:23-cv-1050-JWH-KES, was Patrick Tierney. Mr. Tierney now works at Comcast;
 5 thus, upon information and belief, Comcast knew of the aforementioned MoCA
 6 Patents as early as the day Mr. Tierney was hired.
 7        155. Comcast also attached to its own motion to dismiss a copy of
 8
 9                                                                                  See Entropic
10 v. Comcast, No. 2:23-cv-1050-JWH-KES, at Dkt. No. 39-1, Ex. A.
11
12
13        156. Comcast also willfully infringed two other MaxLinear patents no later
14 than June 9, 2022. Specifically, during prosecution of Comcast’s 17/201,189 patent
15 application, the patent examiner cited to MaxLinear, Inc.’s MoCA-related U.S. Patent
16 No. 10,075,333 (the “’333 Patent”) in a non-final rejection, which Comcast received
17 on June 9, 2022. Additionally, the ’116 Patent was cited during prosecution of
18 Comcast’s patent application 16/777,622. The examiner cited MaxLinear, Inc.’s
19 MoCA-related U.S. Patent No. 10,285,116 (“’116 Patent”)’s publication in a non-final
20 rejection, which Comcast received on October 16, 2020. On information and belief,
21 no later than June 9, 2022, Comcast substantively reviewed and analyzed the ’333
22 Patent.    On information and belief, no later than October 16, 2020, Comcast
23 substantively reviewed and analyzed the ’116 Patent. On information and belief,
24 Comcast has willfully infringed the ’333 and ’116 Patents beginning no later than
25 June 9, 2022 and October 16, 2020, respectively.
26        3. The ViXS Suit
27        157. Entropic filed a patent infringement suit against ViXS Systems, Inc. and
28 ViXS      USA,    Inc.   in   the     Southern    District   of   California,        Case    No.
                                -29-
       FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 32 of 81
                                    Page ID #:3706



 1 13-CV-1102-WQHBGS (“the ViXS Suit”), on May 8, 2013, asserting infringement of
 2 the ’759 Patent and the ’518 Patent. Both patents are essential to the standards
 3 developed and promulgated by MoCA.
 4         158. 96. Upon information and belief, as a member of MoCA, Comcast
 5 substantively reviewed and analyzed the ’775 Patent in Suit, duly issued on July 17,
 6 2012 from an application filed September 30, 2003, as part of its due diligence prior
 7 to investing in Entropic in 2006.claims in the ViXS Suit and the patents asserted in
 8 that case, which included the ’759 and ’518 Patents.
 9         159. Upon information and belief, Comcast analyzed its products’
10 functionality in light of the patents asserted in the ViXS Suit.
11         160. Because Comcast already was using and deploying devices practicing the
12 MoCA standards (and continued to do so), Comcast willfully infringed the ’759 and
13 ’518 Patents no later than May 8, 2013, after substantively analyzing the complaint
14 and the patents asserted in the ViXS suit.
15         97. Accordingly, upon information and belief, no later than the day prior to its
16 latest investment in Entropic in 2006, Comcast knew or had every reason to know that
17 Entropic owned the ’775 Patent in Suit. Because Comcast knew of the ’775 patent
18 and substantively reviewed its claims, Comcast began willfully infringing the ’775
19 patent no later than the dates it began offering the Accused Cable Modem products
20 and services, having knowledge that such use and deployment infringed the ’775
21 patent.
22         98. Additionally, Comcast and MaxLinear, Inc. were engaged in a longstanding
23 commercial relationship for years.
24         99.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22    Filed 12/08/23   Page 33 of 81
                                    Page ID #:3707



 1
 2
 3          100.
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 6 related to non standardized technologies deployed in the cable television and/or cable
 7 internet businesses, technologies that Comcast uses and deploys.
 8          161. 101. As addressed above in paragraphs 67 through 74, Comcast has
 9 willfully infringed at least the ’362 patent, the ’826 patent,759 Patent and the ’206
10 patent518 Patent through its knowledge gained from the Charter litigationViXS Suit,
11 and was aware of (and substantively analyzed its infringement of) the other
12 Patents in SuitMoCA Patents no later than the letter sent by Entropic in August 2022.
13          162. As a member of MoCA, Comcast was well aware that Entropic Inc., the
14 owner of the MoCA Patents in the ViXS Suit, was the leading contributor of
15 technology to the standards promulgated by MoCA, which are implicated by the
16 claims of patent infringement in the ViXS Suit.
17
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20
21
22        D. Comcast has willfully infringed each of the Patents-in-Suit through its
23          post-suit conduct.11
24   11
      Entropic has filed a motion for leave to supplement its complaint with the
25 allegations contained in Section E herein contemporaneously with this Second
   Amended Complaint. This motion requests leave to include allegations of events that
26 occurred after the filing of the original complaint, and it includes a redlined copy of
27 the proposed supplemental pleading to Entropic’s First Amended Complaint,
   consistent with this Court’s Standing Order.
28
                                   -31-
          FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 34 of 81
                                   Page ID #:3708



 1         163. Despite having knowledge of its infringement of the Patents-in-Suit by
 2 virtue of Entropic’s original Complaint, its First Amended Complaint, and its
 3 infringement contentions, Comcast continues to make, use, sell, or offer for sale the
 4 Accused Products. Thus, Comcast continues to willfully infringe the Patents-in-Suit.
 5         164. Further, on December 1, 2023, MaxLinear, Inc. filed a Counterclaim
 6 against Comcast in the Southern District of New York (“SDNY”) containing detailed
 7 allegations of Comcast’s misappropriation of MaxLinear’s trade secrets.             These
 8 allegations shed further light on Comcast’s willful infringement of the Patents-in-Suit.
 9         165. Even if Comcast had not willfully infringed the Patents-in-Suit,
10 MaxLinear, Inc. provided notice of termination of the VSA to Comcast on May 18,
11 2023, and the VSA is therefore no longer in effect.
12            1. Original Complaint
13         166. Before the filing of this Second Amended Complaint, on February 16,
14 2023, Comcast accepted service of Entropic’s original Complaint alleging
15 infringement of the same Patents-in-Suit. See DE 1. Entropic hereby incorporates its
16 original Complaint into this Second Amended Complaint by reference.
17         167. Entropic’s original Complaint specifically described the infringing nature
18 of the Accused Products, which are the same as those described herein. Further, the
19 original complaint set forth detailed allegations of how each of the Patents-in-Suit was
20 infringed by one of or more of the Accused Products.
21         168. Comcast thereafter analyzed Entropic’s allegations of infringement and
22 has indeed engaged in substantive discussions with Entropic related to Entropic’s
23 infringement allegations.
24         169. Indeed, after Entropic’s Complaint was filed, on information and belief,
25 Comcast again sought indemnification from its suppliers for Entropic’s claims.
26         170. Thus, Comcast was on notice of the basis for Entropic’s infringement
27 claims and sought protection for those claims from its suppliers. On information and
28 belief, Comcast could not have stated grounds for indemnification by specific
                                 -32-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 35 of 81
                                   Page ID #:3709



 1 suppliers unless it had knowledge of the basis for Entropic’s infringement claims, as
 2 well as the specific products that were being accused.
 3         171. 102. AccordinglyThus, Comcast either knew abouthas been aware that it
 4 infringed the Patents-in-Suit, or alternatively engaged in a scheme to be willfully
 5 blind to the existence of the Patents in Suit since the service of Entropic’s original
 6 Complaint, on February 16, 2023.
 7         103. Upon information and belief, in addition to the knowledge as set forth
 8 above, one of the named inventors of the ’008 Patent and ’826 Patent, Patrick Tierney,
 9 now works at Comcast. Accordingly, upon information and belief, Comcast knew of
10 the aforementioned Patents in Suit as early as the day Patrick Tierney was hired.
11            2. First Amended Complaint
12         172. Before the filing of this Second Amended Complaint, on June 5, 2023,
13 Comcast was served with Entropic’s First Amended Complaint alleging infringement
14 of the same Patents-in-Suit. See DE 63.         Entropic hereby incorporates its First
15 Amended Complaint into this Second Amended Complaint by reference.
16         173. Even more so than its original Complaint, Entropic’s First Amended
17 Complaint set forth specific allegations of Comcast’s infringement of each of the
18 Patents-in-Suit.    Entropic included reference to particular patents that Comcast
19 willfully infringed based on its use of particular technology.
20         174. Comcast thereafter analyzed Entropic’s allegations of infringement and
21 has indeed engaged in substantive discussions with Entropic related to Entropic’s
22 infringement allegations.
23         175. Thus, Comcast has been aware that it infringed Patents-in-Suit since the
24 service of Entropic’s original Complaint, on June 5, 2023.
25            3. Entropic’s Infringement Contentions
26         176. Further, Entropic’s infringement contentions, served on September 15,
27 2023, provided Comcast with additional notice of infringement. Entropic hereby
28
                                 -33-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22     Filed 12/08/23   Page 36 of 81
                                     Page ID #:3710



 1 incorporates its infringement contentions into this Second Amended Complaint by
 2 reference.
 3         177. Entropic’s infringement contentions set forth Entropic’s infringement
 4 positions in detail, and they include charts setting forth how each Accused Product
 5 specifically infringed each Asserted Patent.
 6         178. In particular, Entropic identified how Comcast’s development and use of
 7 a PMA system that generates and transacts D3.1 downstream (DS) profiles infringes
 8 upon Entropic’s ’682 Patent.
 9         179. Comcast thereafter analyzed the infringement contentions and has
10 engaged in thorough discussions with Entropic regarding the substance of these
11 contentions.
12         180. Thus, Comcast has been aware that it infringed Patents-in-Suit since at
13 least September 15, 2023.
14         181. 104. To date, Comcast has continued its wrongful and willful use of the
15 Patents-in-Suit, and has further continued its attempts to shield itself from liability for
16 its wrongful use thereof.
17         182. Comcast’s continued sale of the Accused Products despite its knowledge
18 of the infringement set forth in Entropic’s original Complaint, Second Amended
19 Complaint, and Entropic’s infringement contentions demonstrates its intent to
20 willfully infringe the Patents-in-Suit.
21             4. MaxLinear’s SDNY Counterclaim
22         183. On December 1, 2023, MaxLinear, Inc. filed a Counterclaim against
23 Comcast, alleging that Comcast breached the nondisclosure agreement (the “NDA”) it
24 entered into with MaxLinear, Inc. and misappropriated MaxLinear, Inc.’s trade
25 secrets. See Comcast Cable Communications Management, LLC, et al. v. MaxLinear,
26 Inc., Case No. 1:23-cv-04436-AKH, DE 88 (S.D.N.Y. Dec. 1, 2023).                      This
27 Counterclaim is hereby incorporated into this Second Amended Complaint by
28 reference.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22    Filed 12/08/23   Page 37 of 81
                                    Page ID #:3711



 1         184. In its Counterclaim, MaxLinear, Inc. alleges that Comcast intentionally,
 2 and in violation of the NDA, capitalized off of MaxLinear’s breakthrough FDX
 3 technology by first convincing MaxLinear to disclose that technology to Comcast, and
 4 then by taking credit for technology and divulging the information it learned to
 5 MaxLinear’s competitor.
 6         185. Specifically, Comcast knowingly published aspects of MaxLinear’s FDX
 7 amplifier design as its own through its employee, Richard Prodan; disclosed the
 8 amplifier design to MaxLinear’s competitor; and paid the competitor to create a
 9 functionally identical amplifier for Comcast.
10         186. MaxLinear goes on to allege that, while Comcast has previously hid
11 behind     Section   7.3   of   the   VSA—an      agreement   which    Comcast      itself
12 drafted—Comcast’s knowing misappropriation of MaxLinear’s FDX-amplifier trade
13 secret technology has rendered this provision irrelevant.
14            5.
15         187.
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17         188.
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19         189.
20
21                             JURISDICTION AND VENUE
22         190. 105. This Court has subject matter jurisdiction pursuant to 28 U.S.C.
23 §§ 1331 and 1338(a) because the claims herein arise under the patent laws of the
24 United States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.
25         191. 106. Venue in this District is proper pursuant to 28 U.S.C. § 1400(b),
26 because Comcast has regular and established places of business in this District. The
27 defendants, by themselves and/or through their agents, have committed acts of patent
28 infringement within the State of California and within this District by using, selling,
                                 -35-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 38 of 81
                                   Page ID #:3712



 1 offering for sale, and/or leasing various telecommunication services products and
 2 services.
 3           192. 107. This Court has general personal jurisdiction over Comcast Corp.
 4 because it conducts systematic and regular business within the State of California by,
 5 inter alia providing cable television, internet, and phone services to businesses and
 6 residents throughout the state. Comcast Corp.’s website states that, “Comcast is
 7 deeply committed to California, where our nearly 5,000 employees serve more than 3
 8 million customers throughout the state.”912
 9           193. 108. Upon information and belief, Comcast Management has a regular
10 and established place of business in the State of California including at least at 3055
11 Comcast Place, Livermore, California 94551.
12           194. 109. The Court has personal jurisdiction over Comcast Corp., Comcast
13 Communications and Comcast Management because they have committed acts of
14 infringement within the State of California and within this District through, for
15 example, providing through their wholly owned subsidiaries, “Comcast” and
16 “Xfinity” branded products and services, including, Xfinity set top boxes (“STBs”)
17 and Xfinity digital video, audio, and other content services to customers. Comcast
18 provides cable television and internet services (“Accused Services”) via the lease,
19 sale, and/or distribution of cable modems and set top boxes both online and from
20 Comcast stores in this District. For example, Comcast has and continues to sell, lease,
21 and/or distribute the Technicolor TC8717 cable modem, Technicolor CGM4140 cable
22 modem, Technicolor CGM4331 cable modem, and products that operate in a similar
23 manner (“Accused Cable Modem Products”), as well as the Arris AX013ANC STB,
24 Arris AX013ANM STB, Arris AX014ANC STB, Arris AX014ANM STB, Arris
25 MX011ANC STB, Arris MX011ANM STB, Pace PX001ANC STB, Pace
26   912
      See
27 https://california.comcast.com/about/#:%7E:text=Comcast%20is%20deeply%20com
   mitted%20to,smart%20home%E2%80%9D%20and%20phone%20service.
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           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23    Page 39 of 81
                                    Page ID #:3713



 1 PX013ANC STB, Pace PX013ANM STB, Pace PX022ANC STB, Pace PX022ANM
 2 STB, Samsung SX022ANC STB, Samsung SX022ANM STB, and products that
 3 operate in a similar manner (“Accused Set Top Products”).13
 4          195. 110.   Upon     information   and   belief,   Comcast     Corp.,   Comcast
 5 Communications, and Comcast Management, by themselves and/or through their
 6 agents, offer various telecommunication services throughout the United States.
 7 Comcast operates and maintains a nationwide television and data network through
 8 which it sells, leases, and offers for sale products and services, including the Accused
 9 Services, Accused Cable Modem Products and Accused Set Top Products, to
10 businesses, consumers, and government agencies. Through its subsidiaries, Comcast
11 Corp. offers to sell, sells, and provides “Comcast” and “Xfinity” branded products and
12 services, including cable modems, set top boxes, and digital video, audio, and other
13 content services to customers. Subscribers to Comcast’s television services receive
14 one or more receivers and/or set-top boxes within this District. Subscribers to
15 Comcast’s internet services receive one or more cable modems within this District.
16          196. 111. Upon information and belief, those services are provided through
17 and using the Accused Cable Modem Products and Accused Set Top Products.
18          197. 112.   Upon     information   and   belief,   Comcast     Corp.,   Comcast
19 Communications, and Comcast Management, by themselves and/or through their
20 agents, Comcast Santa Maria and/or Comcast Lompoc, operate their businesses
21 through inter alia offices, warehouses, storefronts, and/or other operational locations
22 within this District, including, for example, at the Xfinity by Comcast stores located in
23 this District at 685 East Betteravia Rd., Santa Maria, California 93454; and 1145 N. H
24   13
     Entropic provided its initial infringement contentions for the ’775, ’690, ’008, ’362,
25 ’826, ’682, ’866, and ’206 Patents on September 15, 2023. Entropic provided its
   initial infringement contentions for the ’438 and ’275 Patents on November 3, 2023.
26
   Entropic has revised this Second Amended Complaint to reflect the initial
27 infringement contentions, which include references to certain documents provided in
   discovery to Comcast by Entropic.
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                                   -37-
          FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22   Filed 12/08/23   Page 40 of 81
                                     Page ID #:3714



 1 Street, Suite B, Lompoc, California 93436. Comcast holds out these locations as its
 2 own through the use of branding on the locations themselves.
 3         198. 113. Comcast lists these Xfinity by Comcast stores on its website and
 4 holds them out as places where customers can obtain the Accused Services, Accused
 5 Cable Modem Products and Accused Set Top Products.
 6         199. 114. Upon information and belief, one or more of the defendants owns
 7 and/or leases the premises where these Xfinity by Comcast stores are located.
 8         200. 115. Upon information and belief, these Xfinity by Comcast stores are
 9 staffed by persons directly employed by Comcast, many of whom live in this District.
10         201. 116. Upon information and belief, one or more of the defendants has
11 engaged in regular and established business at physical places within this District such
12 as at these two Xfinity by Comcast stores.
13         202. 117. Upon information and belief, Comcast employs and/or contracts
14 with persons and directs them to install, service, repair, and/or replace equipment, as
15 appropriate, in this District.
16         203. 118. Upon information and belief, in each of these stores and/or service
17 centers, Comcast owns and stores equipment such as cable modems and set top boxes
18 and demonstrates services provided via those products to Comcast customers.
19         204. 119. Comcast has adopted and ratified the Comcast and Xfinity-branded
20 locations identified in this District. The Comcast website advertises Comcast service
21 packages available from Comcast-authorized retailers in this District, and prospective
22 employees can find Comcast job listings in this District. Furthermore, the “corporate”
23 section of Comcast’s main website has a section containing “Special Information
24 Regarding California Residents’ Privacy Rights,” which demonstrates that Comcast is
25 purposefully holding itself out as providing products and services in California.
26         205. 120. Upon information and belief, Comcast Corp., and/or Comcast
27 Communications, by themselves and/or through their agent, Comcast Management,
28 provides the Accused Services throughout the United States and in this District.
                                 -38-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 41 of 81
                                   Page ID #:3715



 1         206. 121. Upon information and belief, Comcast Corp. and/or Comcast
 2 Management, by themselves, and/or through their agent, Comcast Communications,
 3 sells, and offers for sale, and provides the Accused Services, the Accused Cable
 4 Modem Products and the Accused Set Top Products throughout the United States and
 5 in this District.
 6         207. 122. The Accused Services are available for subscription from various
 7 physical stores, including those at 685 East Betteravia Rd., Santa Maria, California,
 8 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436.
 9         208. 123. The devices, including the Accused Cable Modem Products and the
10 Accused Set Top Products provided by Comcast to supply the Accused Services, are
11 provided to customers in this District and may be obtained by customers from
12 physical locations in this District, including those at 685 East Betteravia Rd., Santa
13 Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436.
14         209. 124. Venue is further proper because Comcast has committed and
15 continues to commit acts of patent infringement in this District, including making,
16 using, offering to sell, and/or selling Accused Services, Accused Cable Modem
17 Products and Accused Set Top Products in this District, and/or importing the Accused
18 Cable Modem Products and Accused Set Top Products into, and thereafter providing
19 Accused Services in, this District, including by Internet sales and sales via retail and
20 wholesale stores. Furthermore, for example, Comcast deploys Accused Cable Modem
21 Products and Accused Set Top Products to many thousands of locations (e.g.,
22 customer premises) in this District and subsequently, by means of those
23 instrumentalities, uses the claimed inventions at those locations in this District.
24 Comcast infringes by inducing and contributing to acts of patent infringement in this
25 District and/or committing at least a portion of any other infringement alleged herein
26 in this District.
27         210. 125. Comcast continues to conduct business in this District, including the
28 acts and activities described in the preceding paragraph.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 42 of 81
                                    Page ID #:3716



 1                                         COUNT I
 2                             (Infringement of the ’775 Patent)
 3         211. 126. Entropic incorporates by reference each allegation of the paragraphs
 4 above as if fully set forth herein.
 5         212. Entropic served infringement contentions which included a claim chart
 6 for the ’775 Patent on September 15, 2023.
 7         213. 127. The ’775 Patent duly issued on July 17, 2012 from an application
 8 filed September 30, 2003.
 9         214. 128. Entropic owns all substantial rights, interest, and title in and to the
10 ’775 Patent, including the sole and exclusive right to prosecute this action and enforce
11 the ’775 Patent against infringers and to collect damages for all relevant times.
12         215. 129. The ’775 Patent generally describes a partitioned cable modem that
13 performs cable modem functions and data and home networking functions.
14 Functionally partitioning a cable modem to perform cable modem functions and data
15 and home networking functions enables a cable modem to incorporate a variety of
16 enhanced functions. A true and accurate copy of the ’775 Patent is attached hereto as
17 Exhibit 1.
18         216. 130. The ’775 Patent is directed to patent-eligible subject matter pursuant
19 to 35 U.S.C. § 101.
20         217. 131. The ’775 Patent is valid and enforceable, and presumed as such,
21 pursuant to 35 U.S.C. § 282.
22         218. 132. Comcast deploys one or more of the Accused Cable Modem
23 Products in connection with operating and providing the Accused Services.
24         219. 133. The Accused Cable Modem Products deployed by Comcast to
25 customer premises remain the property of Comcast while deployed.
26         220. 134. The Accused Cable Modem Products operate while deployed in a
27 manner controlled and intended by Comcast.
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        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 43 of 81
                                       Page ID #:3717



 1            221. 135. As set forth in the infringement contentions served on Comcast on
 2 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 2),14 Comcast
 3 has directly infringed and is infringing at least Claims 18 and 19 of the ’775 Patent by
 4 using, importing, selling, and/or offering for sale the Accused Cable Modem Products
 5 and/or the Accused Services.
 6            222. 136. Each aspect of the functioning of the Accused Cable Modem
 7 Products described in the claim chart operates while deployed to customer premises in
 8 a manner controlled and intended by Comcast.
 9            223. 137. Comcast provides no software, support, or other facility to
10 customers to modify any aspect of the functioning described in the claim chart of the
11 Accused Cable Modem Products while deployed to customer premises.
12            224. 138. Comcast directly infringes at least Claims 18 and 19 of the ’775
13 Patent by using, importing, selling, and/or offering for sale the Accused Cable Modem
14 Products (for example, the Technicolor CGM4140 cable modem) and/or the Accused
15 Services (for example, utilizing cable modem functions).
16            225. 139. The use of the Accused Cable Modem Products by Comcast to, for
17 example, demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd.,
18 Santa Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California
19 93436, or to, for example, test those products, constitute acts of direct infringement of
20 at least Claims 18 and 19 of the ’775 Patent.
21            226.
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     14
          The original claim chart for this patent is located at DE 63.
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                                    -41-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 44 of 81
                                     Page ID #:3718



 1         227. Comcast has known of or has been willfully blind to the ’775 Patent
 2 since before, and no later than the date of, its acceptance of service of the original
 3 Complaint in this action on February 16, 2023.
 4         228. Comcast has known of or has been willfully blind to the ’775 Patent
 5 since before, and no later than the date of, its acceptance of service of the First
 6 Amended Complaint in this action on June 5, 2023.
 7         229. Comcast has known of or has been willfully blind to the ’775 Patent
 8 since before, and no later than the date of, its acceptance of service of Entropic’s
 9 infringement contentions on September 15, 2023.
10         230. 140. Comcast has known of or has been willfully blind to the ’775 Patent
11 since no later than the day before signing the
12         231. 141. Comcast has known of or has been willfully blind to the ’775 Patent
13 since no later than the day before investing in Entropic Inc. in or about 2006.
14         232. 142. Comcast has known of the ’775 Patent no later than its receipt of
15 Entropic’s communication sent to Comcast on August 9, 2022.
16         233. 143. Comcast has been aware that it infringes the ’775 Patent since well
17 before, and no later than the date of, its receipt of Entropic’s August 9, 2022
18 communication, attached as Exhibit 17. Since obtaining knowledge of the ’775 Patent
19 and its infringing activities, Comcast has failed to cease its infringing activities.
20         234. 144. Customers and subscribers of Comcast infringe at least Claims 18
21 and 19 of the ’775 Patent by using the claimed system, at least during the use of the
22 Accused Cable Modem Products (for example, the Technicolor CGM4140 cable
23 modem).
24         235. 145. Comcast actively induces customers’ direct infringement. For
25 example, Comcast actively induces infringement of at least Claims 18 and 19 of the
26 ’775 Patent by providing the Accused Cable Modem Products to Comcast customers
27 with specific instructions and/or assistance (including installation) regarding the use
28 of the Accused Cable Modem Products to infringe the ’775 Patent in accordance with
                                 -42-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 45 of 81
                                   Page ID #:3719



 1 the ordinary course of operation through the provision of the Accused Services. For at
 2 least the above-listed reasons, Comcast aids, instructs, supports, and otherwise acts
 3 with the intent to cause an end user to use the Accused Cable Modem Products to
 4 infringe at least Claims 18 and 19 of the ’775 Patent.
 5         236. 146. Comcast contributes to the customers’ direct infringement. Comcast
 6 provides apparatuses, namely the Accused Cable Modem Products, that are used by
 7 customers to directly infringe at least Claims 18 and 19 of the ’775 Patent.
 8         237. 147. The Accused Cable Modem Products have no substantial
 9 noninfringing uses. When an end user uses the Accused Cable Modem Products to
10 receive the Accused Services, the end user directly infringes at least Claims 18 and 19
11 of the ’775 Patent. The Accused Cable Modem Products are especially made or
12 especially adapted for use in an infringing manner.
13         238. 148. Comcast’s inducement of, and contribution to, the direct
14 infringement of at least Claims 18 and 19 of the ’775 Patent is continuous and
15 ongoing through acts such as providing the Accused Cable Modem Products to
16 Comcast customers, which enables those customers to receive the Accused Services;
17 Comcast’s provision of the Accused Services; and technical assistance provided by
18 Comcast for equipment it provides to its customers in support of the provision of the
19 Accused Services.
20         239. 149. Comcast’s infringement of the ’775 Patent is, has been, and
21 continues to be willful, intentional, deliberate, and/or in conscious disregard for
22 Entropic’s rights under the patent.
23         240. 150. Entropic has been damaged as a result of the infringing conduct
24 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
25 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
26 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
27         241. 151. Entropic is aware of no obligation to mark any instrumentality with
28 the ’775 Patent in accordance with 35 U.S.C. § 287.
                                 -43-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 46 of 81
                                    Page ID #:3720



 1                                        COUNT II
 2                            (Infringement of the ’690 Patent)
 3         242. 152. Entropic incorporates by reference each allegation above as if fully
 4 set forth herein.
 5         243. Entropic served infringement contentions which included a claim chart
 6 for the ’690 Patent on September 15, 2023.
 7         244. 153. The ’690 Patent duly issued on October 9, 2012 from an application
 8 filed December 10, 2009, and, inter alia a provisional application filed May 19, 2009
 9 and a provisional application filed December 15, 2008.
10         245. 154. Entropic owns all substantial rights, interest, and title in and to the
11 ’690 Patent, including the sole and exclusive right to prosecute this action and enforce
12 the ’690 Patent against infringers and to collect damages for all relevant times.
13         246. 155. The ’690 Patent generally describes the process of generating probe
14 transmissions in response to a request from a receiving node of a network, wherein the
15 probe request specifies a plurality of parameters that specify content payload of the
16 probe transmission, and a second node to receive the probe transmission, which
17 enhances flexibility and therefore, improves the receiving node’s ability to efficiently
18 recognize the precise form of the transmitted probe. A true and accurate copy of the
19 ’690 Patent is attached hereto as Exhibit 3.
20         247. 156. The ’690 Patent is directed to patent-eligible subject matter pursuant
21 to 35 U.S.C. § 101.
22         248. 157. The ’690 Patent is valid and enforceable, and presumed as such,
23 pursuant to 35 U.S.C. § 282.
24         249. 158. Comcast deploys one or more of the Accused Cable Modem
25 Products in connection with operating and providing the Accused Services.
26         250. 159. The Accused Cable Modem Products deployed by Comcast to
27 customer premises remain the property of Comcast while deployed.
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                                 -44-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 47 of 81
                                       Page ID #:3721



 1            251. 160. The Accused Cable Modem Products operate while deployed in a
 2 manner controlled and intended by Comcast.
 3            252. 161. As set forth in the infringement contentions served on Comcast on
 4 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 4),15
 5 Comcast has directly infringed and is infringing at least Claims 7, and 8, 11, 15, and
 6 16 of the ’690 Patent by using, importing, selling, and/or offering for sale the
 7 Accused Cable Modem Products and/or the Accused Services.
 8            253. 162. Each aspect of the functioning of the Accused Cable Modem
 9 Products described in the claim chart operates while deployed to customer premises in
10 a manner controlled and intended by Comcast.
11            254. 163. Comcast provides no software, support, or other facility to
12 customers to modify any aspect of the functioning described in the claim chart of the
13 Accused Cable Modem Products while deployed to customer premises.
14            255. 164. Comcast directly infringes at least Claims 7, and 8, 11, 15, and 16
15 of the ’690 Patent by using, importing, selling, and/or offering for sale the Accused
16 Cable Modem Products (for example, the Technicolor CGM4140 cable modem)
17 and/or the Accused Services (for example, performing bidirectional communication
18 with cable modems).
19            256. 165. The use of the Accused Services by Comcast to, for example,
20 demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd., Santa
21 Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436,
22 or to, for example, test those products, constitute acts of direct infringement of at least
23 Claims 7, and 8, 11, 15, and 16 of the ’690 Patent.
24            257.
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     15
          The original claim chart for this patent is located at DE 63.
28
                                    -45-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22     Filed 12/08/23   Page 48 of 81
                                     Page ID #:3722



 1
 2
 3         258. Comcast has known of or has been willfully blind to the ’690 Patent
 4 since before, and no later than the date of, its acceptance of service of the original
 5 Complaint in this action on February 16, 2023.
 6         259. Comcast has known of or has been willfully blind to the ’690 Patent
 7 since before, and no later than the date of, its acceptance of service of the First
 8 Amended Complaint in this action on June 5, 2023.
 9         260. Comcast has known of or has been willfully blind to the ’690 Patent
10 since before, and no later than the date of, its acceptance of service of Entropic’s
11 infringement contentions on September 15, 2023.
12         261. 166. Comcast has known of or has been willfully blind to the ’690 Patent
13 no later than the day before signing the
14         262. 167. Comcast has known of or has been willfully blind to the ’690 Patent
15 since no later than the date of its receipt of Entropic’s communication sent to Comcast
16 on August 9, 2022.
17         263. 168. Comcast has been aware that it infringes the ’690 Patent since well
18 before, and no later than the date of, Entropic’s August 9, 2022 communication,
19 attached as Exhibit 17. Since obtaining knowledge of the ’690 Patent and its
20 infringing activities, Comcast has failed to cease its infringing activities.
21         264. 169. Customers and subscribers of Comcast infringe at least Claims 7
22 and 8 of the ’690 Patent by using the claimed method, at least during receipt of the
23 Accused Services utilizing, for example, the Accused Cable Modem Products (for
24 example, the Technicolor CGM4140 cable modem).
25         265. 170. Comcast actively induces customers’ direct infringement. For
26 example, Comcast actively induces infringement of at least Claims 7 and 8 of the ’690
27 Patent by providing the Accused Cable Modem Products to Comcast customers with
28 specific instructions and/or assistance (including installation) regarding the use of the
                                 -46-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22      Filed 12/08/23   Page 49 of 81
                                   Page ID #:3723



 1 Accused Cable Modem Products to infringe the ’690 Patent in accordance with the
 2 ordinary course of operation through the provision of the Accused Services. Comcast
 3 provides the cable modem functions claimed by the ’690 Patent via the Accused
 4 Services, which enable and induce its customers to directly infringe the ’690 Patent.
 5 For at least the above-listed reasons, Comcast aids, instructs, supports, and otherwise
 6 acts with the intent to cause an end user to use the Accused Cable Modem Products to
 7 infringe at least Claims 7 and 8 of the ’690 Patent.
 8         266. 171. Comcast contributes to the customers’ direct infringement. Comcast
 9 provides apparatuses, namely the Accused Cable Modem Products, that are used by
10 customers to directly infringe at least Claims 7 and 8 of the ’690 Patent.
11         267. 172. The Accused Cable Modem Products have no substantial
12 noninfringing uses. When an end user uses the Accused Cable Modem Products to
13 receive the Accused Services, the end user directly infringes at least Claims 7 and 8 of
14 the ’690 Patent. The Accused Cable Modem Products are especially made or
15 especially adapted for use in an infringing manner.
16         268. 173. Comcast’s inducement of, and contribution to, the direct
17 infringement of at least Claims 7 and 8 of the ’690 Patent is continuous and ongoing
18 through acts such as providing the Accused Cable Modem Products to Comcast
19 customers, which enables those customers to receive the Accused Services; Comcast’s
20 provision of the Accused Services; and technical assistance provided by Comcast for
21 equipment it provides to its customers in support of the provision of the Accused
22 Services.
23         269. 174. Comcast’s infringement of the ’690 Patent is, has been, and
24 continues to be willful, intentional, deliberate, and/or in conscious disregard for
25 Entropic’s rights under the patent.
26         270. 175. Entropic has been damaged as a result of the infringing conduct
27 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
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                                 -47-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 50 of 81
                                    Page ID #:3724



 1 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
 2 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 3         271. 176. No apparatus claims of the ’690 Patent are presently asserted.
 4 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
 5                                        COUNT III
 6                             (Infringement of the ’008 Patent)
 7         272. 177. Entropic incorporates by reference each allegation of the paragraphs
 8 above as if fully set forth herein.
 9         273. Entropic served infringement contentions which included a claim chart
10 for the ’008 Patent on September 15, 2023.
11         274. 178. The ’008 Patent duly issued on July 29, 2014 from an application
12 filed September 10, 2012, and, inter alia a provisional application filed September 8,
13 2011.
14         275. 179. Entropic owns all substantial rights, interest, and title in and to the
15 ’008 Patent, including the sole and exclusive right to prosecute this action and enforce
16 the ’008 Patent against infringers and to collect damages for all relevant times.
17         276. 180. The ’008 Patent generally describes a system that receives a signal
18 having a plurality of channels, digitizes the received signal, and reports certain signal
19 characteristics to the source of the received signal. A true and accurate copy of the
20 ’008 Patent is attached hereto as Exhibit 5.
21         277. 181. The ’008 Patent is directed to patent-eligible subject matter pursuant
22 to 35 U.S.C. § 101.
23         278. 182. The ’008 Patent is valid and enforceable, and presumed as such,
24 pursuant to 35 U.S.C. § 282.
25         279. 183. Comcast deploys one or more of the Accused Cable Modem
26 Products and Accused Set Top Products in connection with operating and providing
27 the Accused Services.
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                                 -48-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 51 of 81
                                       Page ID #:3725



 1            280. 184. The Accused Cable Modem Products and Accused Set Top Products
 2 deployed by Comcast to customer premises remain the property of Comcast while
 3 deployed.
 4            281. 185. The Accused Cable Modem Products and Accused Set Top Products
 5 operate while deployed in a manner controlled and intended by Comcast.
 6            282. 186. As set forth in the infringement contentions served on Comcast on
 7 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 6),16 Comcast
 8 has directly infringed and is infringing at least Claims 11-6, 9, and 210 of the ’008
 9 Patent by using, importing, selling, and/or offering for sale the Accused Cable Modem
10 Products and Accused Set Top Products and/or the Accused Services.
11            283. 187. Each aspect of the functioning of the Accused Cable Modem
12 Products and Accused Set Top Products described in the claim chart operates while
13 deployed to customer premises in a manner controlled and intended by Comcast.
14            284. 188. Comcast provides no software, support, or other facility to
15 customers to modify any aspect of the functioning described in the claim chart of the
16 Accused Cable Modem Products and Accused Set Top Products while deployed to
17 customer premises.
18            285. 189. Comcast directly infringes at least Claims 11-6, 9, and 210 of the
19 ’008 Patent by using, importing, selling, and/or offering for sale the Accused Cable
20 Modem Products (for example, the Technicolor CGM4140 cable modem), Accused
21 Set Top Products (for example, the Arris AX013ANM STB) and/or the Accused
22 Services (for example, monitoring signals by the Accused Set Top Products).
23            286. 190. The use of the Accused Cable Modem Products and Accused Set
24 Top Products by Comcast to, for example, demonstrate products in brick-and-mortar
25 stores at 685 East Betteravia Rd., Santa Maria, California, 93454; and 1145 N. H
26 Street, Suite B, Lompoc, California 93436, or to, for example, test those products,
27
     16
          The original claim chart for this patent is located at DE 63.
28
                                    -49-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22     Filed 12/08/23   Page 52 of 81
                                     Page ID #:3726



 1 constitute acts of direct infringement of at least Claims 11-6, 9, and 210 of the ’008
 2 Patent.
 3         287. Comcast has known of or has been willfully blind to the ’008 Patent
 4 since before, and no later than the date of, its acceptance of service of the original
 5 Complaint in this action on February 16, 2023.
 6         288. Comcast has known of or has been willfully blind to the ’008 Patent
 7 since before, and no later than the date of, its acceptance of service of the First
 8 Amended Complaint in this action on June 5, 2023.
 9         289. Comcast has known of or has been willfully blind to the ’008 Patent
10 since before, and no later than the date of, its acceptance of service of Entropic’s
11 infringement contentions on September 15, 2023.
12         290. 191. Comcast has known of or has been willfully blind to the ’008 Patent
13 no later than the day before
14         291. 192. Comcast has known of or has been willfully blind to the ’008 Patent
15 since before the August 9, 2022 communication from Entropic.
16         292. 193. Comcast has been aware that it infringes the ’008 Patent since well
17 before, and no later than the date of, Entropic’s August 9, 2022 communication,
18 attached as Exhibit 17. Since obtaining knowledge of the ’008 Patent and its
19 infringing activities, Comcast has failed to cease its infringing activities.
20         293. 194. Customers and subscribers of Comcast infringe at least Claims 11-6,
21 9, and 210 of the ’008 Patent by using the claimed system, at least during the use of
22 the Accused Cable Modem Products and Accused Set Top Products (for example, the
23 Arris AX013ANM STB).
24         294. 195. Comcast actively induces customers’ direct infringement. For
25 example, Comcast actively induces infringement of at least Claims 11-6, 9, and 210 of
26 the ’008 Patent by providing the Accused Cable Modem Products and Accused Set
27 Top Products to Comcast customers with specific instructions and/or assistance
28 (including installation) regarding the use of the Accused Cable Modem Products and
                                 -50-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22      Filed 12/08/23   Page 53 of 81
                                   Page ID #:3727



 1 Accused Set Top Products to infringe the ’008 Patent in accordance with the ordinary
 2 course of operation through the provision of the Accused Services. Comcast provides
 3 the full band digital tuning and signal monitoring functions claimed by the ’008 Patent
 4 via the Accused Services, which enable and induce its customers to directly infringe
 5 the ’008 Patent. For at least the above-listed reasons, Comcast aids, instructs,
 6 supports, and otherwise acts with the intent to cause an end user to use the Accused
 7 Cable Modem Products and Accused Set Top Products to infringe at least Claims
 8 11-6, 9, and 210 of the ’008 Patent.
 9         295. 196. Comcast contributes to the customers’ direct infringement. Comcast
10 provides apparatuses, namely the Accused Cable Modem Products and Accused Set
11 Top Products, that are used by customers to directly infringe at least Claims 11-6, 9,
12 and 210 of the ’008 Patent.
13         296. 197. The Accused Cable Modem Products and Accused Set Top Products
14 have no substantial noninfringing uses. When an end user uses the Accused Cable
15 Modem Products and Accused Set Top Products to receive the Accused Services, the
16 end user directly infringes at least Claims 11-6, 9, and 210 of the ’008 Patent. The
17 Accused Cable Modem Products and Accused Set Top Products are especially made
18 or especially adapted for use in an infringing manner.
19         297. 198. Comcast’s inducement of, and contribution to, the direct
20 infringement of at least Claims 11-6, 9, and 210 of the ’008 Patent is continuous and
21 ongoing through acts such as providing the Accused Cable Modem Products and
22 Accused Set Top Products to Comcast customers, which enables those customers to
23 receive the Accused Services; Comcast’s provision of the Accused Services; and
24 technical assistance provided by Comcast for equipment it provides to its customers in
25 support of the provision of the Accused Services.
26         298. 199. Comcast’s infringement of the ’008 Patent is, has been, and
27 continues to be willful, intentional, deliberate, and/or in conscious disregard for
28 Entropic’s rights under the patent.
                                 -51-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 54 of 81
                                    Page ID #:3728



 1         299. 200. Entropic has been damaged as a result of the infringing conduct
 2 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
 3 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
 4 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 5         300. 201. Entropic is aware of no obligation to mark any instrumentality with
 6 the ’008 Patent in accordance with 35 U.S.C. § 287.
 7                                        COUNT IV
 8                             (Infringement of the ’362 Patent)
 9         301. 202. Entropic incorporates by reference each allegation of the paragraphs
10 above as if fully set forth herein.
11         302. Entropic served infringement contentions which included a claim chart
12 for the ’362 Patent on September 15, 2023.
13         303. 203. The ’362 Patent duly issued on December 8, 2015 from an
14 application filed February 5, 2015, an application filed August 8, 2013, an application
15 filed April 19, 2010, and, inter alia a provisional application filed April 17, 2009.
16         304. 204. Entropic owns all substantial rights, interest, and title in and to the
17 ’362 Patent, including the sole and exclusive right to prosecute this action and enforce
18 the ’362 Patent against infringers and to collect damages for all relevant times.
19         305. 205. The ’362 Patent generally describes a wideband receiver system that
20 down converts a plurality of frequencies including desired television channels and
21 undesired television channels, digitizes frequencies, selects desired television
22 channels from the frequencies, and outputs the selected television channels to a
23 demodulator as a digital data stream. A true and accurate copy of the ’362 Patent is
24 attached hereto as Exhibit 7.
25         306. 206. The ’362 Patent is directed to patent-eligible subject matter pursuant
26 to 35 U.S.C. § 101.
27         307. 207. The ’362 Patent is valid and enforceable, and presumed as such,
28 pursuant to 35 U.S.C. § 282.
                                 -52-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 55 of 81
                                       Page ID #:3729



 1            308. 208. Comcast deploys one or more of the Accused Set Top Products in
 2 connection with operating and providing the Accused Services.
 3            309. 209. The Accused Set Top Products deployed by Comcast to customer
 4 premises remain the property of Comcast while deployed.
 5            310. 210. The Accused Set Top Products operate while deployed in a manner
 6 controlled and intended by Comcast.
 7            311. 211. As set forth in the infringement contentions served on Comcast on
 8 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 8),17 Comcast
 9 has directly infringed and is infringing at least ClaimClaims 11 and 12 of the ’362
10 Patent by using, importing, selling, and/or offering for sale the Accused Set Top
11 Products and/or the Accused Services.
12            312. 212. Each aspect of the functioning of the Accused Set Top Products
13 described in the claim chart operates while deployed to customer premises in a
14 manner controlled and intended by Comcast.
15            313. 213. Comcast provides no software, support, or other facility to
16 customers to modify any aspect of the functioning described in the claim chart of the
17 Accused Set Top Products while deployed to customer premises.
18            314. 214. Comcast directly infringes at least ClaimClaims 11 and 12 of the
19 ’362 Patent by using, importing, selling, and/or offering for sale the Accused Set Top
20 Products (for example, the Arris AX013ANM STB) and/or the Accused Services (for
21 example, digitizing and selecting desired television channels provided by Comcast).
22            315. 215. The use of the Accused Set Top Products by Comcast to, for
23 example, demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd.,
24 Santa Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California
25 93436, or to, for example, test those products, constitute acts of direct infringement of
26 at least ClaimClaims 11 and 12 of the ’362 Patent.
27
     17
          The original claim chart for this patent is located at DE 63.
28
                                    -53-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 56 of 81
                                     Page ID #:3730



 1         316. Comcast has known of or has been willfully blind to the ’362 Patent
 2 since before, and no later than the date of, its acceptance of service of the original
 3 Complaint in this action on February 16, 2023.
 4         317. Comcast has known of or has been willfully blind to the ’362 Patent
 5 since before, and no later than the date of, its acceptance of service of the First
 6 Amended Complaint in this action on June 5, 2023.
 7         318. Comcast has known of or has been willfully blind to the ’362 Patent
 8 since before, and no later than the date of, its acceptance of service of Entropic’s
 9 infringement contentions on September 15, 2023.
10         319. 216. Comcast has known of or has been willfully blind to the ’362 Patent
11 no later than the day before
12         320. 217. Comcast has known of or has been willfully blind to the ’362 Patent
13 since before the August 9, 2022 communication from Entropic.
14         321. 218. Comcast has been aware that it infringes the ’362 Patent since well
15 before, and no later than the date of, its receipt of Entropic’s August 9, 2022
16 communication, attached as Exhibit 17. Since obtaining knowledge of the ’362 Patent
17 and its infringing activities, Comcast has failed to cease its infringing activities.
18         322. 219. Customers and subscribers of Comcast infringe at least ClaimClaims
19 11 and 12 of the ’362 Patent by using the claimed system, at least during the use of
20 the Accused Set Top Products (for example, the Arris AX013ANM STB).
21         323. 220. Comcast actively induces customers’ direct infringement. For
22 example, Comcast actively induces infringement of at least ClaimClaims 11 and 12 of
23 the ’362 Patent by providing the Accused Set Top Products to Comcast customers
24 with specific instructions and/or assistance (including installation) regarding the use
25 of the Accused Set Top Products to infringe the ’362 Patent in accordance with the
26 ordinary course of operation through the provision of the Accused Services. Comcast
27 provides the television channel digitization, selection, and output functions claimed by
28 the ’362 Patent via the Accused Services, which enable and induce its customers to
                                 -54-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 57 of 81
                                   Page ID #:3731



 1 directly infringe the ’362 Patent. For at least the above-listed reasons, Comcast aids,
 2 instructs, supports, and otherwise acts with the intent to cause an end user to use the
 3 Accused Set Top Products to infringe at least ClaimClaims 11 and 12 of the ’362
 4 Patent.
 5         324. 221. Comcast contributes to the customers’ direct infringement. Comcast
 6 provides apparatuses, namely the Accused Set Top Products, that are used by
 7 customers to directly infringe at least ClaimClaims 11 and 12 of the ’362 Patent.
 8         325. 222. The Accused Set Top Products have no substantial noninfringing
 9 uses. When an end user uses the Accused Set Top Products to receive the Accused
10 Services, the end user directly infringes at least ClaimClaims 11 and 12 of the ’362
11 Patent. The Accused Set Top Products are especially made or especially adapted for
12 use in an infringing manner.
13         326. 223. Comcast’s inducement of, and contribution to, the direct
14 infringement of at least ClaimClaims 11 and 12 of the ’362 Patent is continuous and
15 ongoing through acts such as providing the Accused Set Top Products to Comcast
16 customers, which enables those customers to receive the Accused Services; Comcast’s
17 provision of the Accused Services; and technical assistance provided by Comcast for
18 equipment it provides to its customers in support of the provision of the Accused
19 Services.
20         327. 224. Comcast’s infringement of the ’362 Patent is, has been, and
21 continues to be willful, intentional, deliberate, and/or in conscious disregard for
22 Entropic’s rights under the patent.
23         328. 225. Entropic has been damaged as a result of the infringing conduct
24 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
25 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
26 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
27         329. 226. No apparatus claims of the ’362 Patent are presently asserted.
28 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
                                 -55-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 58 of 81
                                    Page ID #:3732



 1                                         COUNT V
 2                             (Infringement of the ’826 Patent)
 3         330. 227. Entropic incorporates by reference each allegation of the paragraphs
 4 above as if fully set forth herein.
 5         331. Entropic served infringement contentions which included a claim chart
 6 for the ’826 Patent on September 15, 2023.
 7         332. 228. The ’826 Patent duly issued on November 21, 2017 from an
 8 application filed November 23, 2015, an application filed July 28, 2014, an
 9 application filed September 10, 2012, and, inter alia a provisional application filed
10 September 8, 2011.
11         333. 229. Entropic owns all substantial rights, interest, and title in and to the
12 ’826 Patent, including the sole and exclusive right to prosecute this action and enforce
13 the ’826 Patent against infringers and to collect damages for all relevant times.
14         334. 230. The ’826 Patent generally describes a system that receives a signal
15 having a plurality of channels, digitizes the received signal, and reports certain signal
16 characteristics to the source of the received signal. A true and accurate copy of the
17 ’826 Patent is attached hereto as Exhibit 9.
18         335. 231. The ’826 Patent is directed to patent-eligible subject matter pursuant
19 to 35 U.S.C. § 101.
20         336. 232. The ’826 Patent is valid and enforceable, and presumed as such,
21 pursuant to 35 U.S.C. § 282.
22         337. 233. Comcast deploys one or more of the Accused Cable Modem
23 Products and Accused Set Top Products in connection with operating and providing
24 the Accused Services.
25         338. 234. The Accused Cable Modem Products and Accused Set Top Products
26 deployed by Comcast to customer premises remain the property of Comcast while
27 deployed.
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                                 -56-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 59 of 81
                                       Page ID #:3733



 1            339. 235. The Accused Cable Modem Products and Accused Set Top Products
 2 operate while deployed in a manner controlled and intended by Comcast.
 3            340. 236. As set forth in the infringement contentions served on Comcast on
 4 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 10),18
 5 Comcast has directly infringed and is infringing at least Claim 1Claims 1-4, 6, 8, and
 6 9 of the ’826 Patent by using, importing, selling, and/or offering for sale the Accused
 7 Cable Modem Products, Accused Set Top Products and/or the Accused Services.
 8            341. 237. Each aspect of the functioning of the Accused Cable Modem
 9 Products and Accused Set Top Products described in the claim chart operates while
10 deployed to customer premises in a manner controlled and intended by Comcast.
11            342. 238. Comcast provides no software, support, or other facility to
12 customers to modify any aspect of the functioning described in the claim chart of the
13 Accused Cable Modem Products and Accused Set Top Products while deployed to
14 customer premises.
15            343. 239. Comcast directly infringes at least Claim 1Claims 1-4, 6, 8, and 9 of
16 the ’826 Patent by using, importing, selling, and/or offering for sale the Accused
17 Cable Modem Products and Accused Set Top Products (for example, the Arris
18 AX013ANM STBTechnicolor CGM4140 cable modem) and/or the Accused Services
19 (for example, monitoring signals by the Accused Cable Modem Products and Accused
20 Set Top Products).
21            344. 240. The use of the Accused Cable Modem Products and Accused Set
22 Top Products by Comcast to, for example, demonstrate products in brick-and-mortar
23 stores at 685 East Betteravia Rd., Santa Maria, California, 93454; and 1145 N. H
24 Street, Suite B, Lompoc, California 93436, or to, for example, test those products,
25 constitute acts of direct infringement of at least Claim 1Claims 1-4, 6, 8, and 9 of the
26 ’826 Patent.
27
     18
          The original claim chart for this patent is located at DE 63.
28
                                    -57-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 60 of 81
                                     Page ID #:3734



 1         345. Comcast has known of or has been willfully blind to the ’826 Patent
 2 since before, and no later than the date of, its acceptance of service of the original
 3 Complaint in this action on February 16, 2023.
 4         346. Comcast has known of or has been willfully blind to the ’826 Patent
 5 since before, and no later than the date of, its acceptance of service of the First
 6 Amended Complaint in this action on June 5, 2023.
 7         347. Comcast has known of or has been willfully blind to the ’826 Patent
 8 since before, and no later than the date of, its acceptance of service of Entropic’s
 9 infringement contentions on September 15, 2023.
10         348. 241. Comcast has known of or has been willfully blind to the ’826 Patent
11 no later than the day before
12         349. 242. Comcast has known of or has been willfully blind to the ’826 Patent
13 since before the August 9, 2022 communication from Entropic.
14         350. 243. Comcast has been aware that it infringes the ’826 Patent since well
15 before, and no later than the date of, its receipt of Entropic’s August 9, 2022
16 communication, attached as Exhibit 17. Since obtaining knowledge of the ’826 Patent
17 and its infringing activities, Comcast has failed to cease its infringing activities.
18         351. 244. Customers and subscribers of Comcast infringe at least Claim
19 1Claims 1-4, 6, 8, and 9 of the ’826 Patent by using the claimed system, at least
20 during the use of the Accused Cable Modem Products and Accused Set Top Products
21 (for example, the Arris AX013ANM STB).
22         352. 245. Comcast actively induces customers’ direct infringement. For
23 example, Comcast actively induces infringement of at least Claim 1Claims 1-4, 6, 8,
24 and 9 of the ’826 Patent by providing the Accused Cable Modem Products and
25 Accused Set Top Products to Comcast customers with specific instructions and/or
26 assistance (including installation) regarding the use of the Accused Cable Modem
27 Products and Accused Set Top Products to infringe the ’826 Patent in accordance with
28 the ordinary course of operation through the provision of the Accused Services.
                                 -58-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23    Page 61 of 81
                                   Page ID #:3735



 1 Comcast provides the signal monitoring claimed by the ’826 Patent via the Accused
 2 Services, which enable and induce its customers to directly infringe the ’826 Patent.
 3 For at least the above-listed reasons, Comcast aids, instructs, supports, and otherwise
 4 acts with the intent to cause an end user to use the Accused Cable Modem Products
 5 and Accused Set Top Products to infringe at least Claim 1Claims 1-4, 6, 8, and 9 of
 6 the ’826 Patent.
 7         353. 246. Comcast contributes to the customers’ direct infringement. Comcast
 8 provides apparatuses, namely the Accused Cable Modem Products and Accused Set
 9 Top Products, that are used by customers to directly infringe at least Claim 1Claims
10 1-4, 6, 8, and 9 of the ’826 Patent.
11         354. 247. The Accused Cable Modem Products and Accused Set Top Products
12 have no substantial noninfringing uses. When an end user uses the Accused Set Top
13 Products to receive the Accused Services, the end user directly infringes at least Claim
14 1Claims 1-4, 6, 8, and 9 of the ’826 Patent. The Accused Cable Modem Products and
15 Accused Set Top Products are especially made or especially adapted for use in an
16 infringing manner.
17         355. 248. Comcast’s inducement of, and contribution to, the direct
18 infringement of at least Claim 1Claims 1-4, 6, 8, and 9 of the ’826 Patent is
19 continuous and ongoing through acts such as providing the Accused Cable Modem
20 Products and Accused Set Top Products to Comcast customers, which enables those
21 customers to receive the Accused Services; Comcast’s provision of the Accused
22 Services; and technical assistance provided by Comcast for equipment it provides to
23 its customers in support of the provision of the Accused Services.
24         356. 249. Comcast’s infringement of the ’826 Patent is, has been, and
25 continues to be willful, intentional, deliberate, and/or in conscious disregard for
26 Entropic’s rights under the patent.
27         357. 250. Entropic has been damaged as a result of the infringing conduct
28 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
                                 -59-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22    Filed 12/08/23   Page 62 of 81
                                     Page ID #:3736



 1 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
 2 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 3         358. 251. No apparatus claims of the ’826 Patent are presently asserted.
 4 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
 5                                        COUNT VI
 6                             (Infringement of the ’682 Patent)
 7         359. 252. Entropic incorporates by reference each allegation of the paragraphs
 8 above as if fully set forth herein.
 9         360. Entropic served infringement contentions which included a claim chart
10 for the ’682 Patent on September 15, 2023.
11         361. 253. The ’682 Patent duly issued on November 20, 2018 from an
12 application filed January 9, 2018, an application filed February 16, 2017, an
13 application filed August 4, 2016, an application filed July 23, 2013, and, inter alia a
14 provisional application filed July 23, 2012.
15         362. 254. Entropic owns all substantial rights, interest, and title in and to the
16 ’682 Patent, including the sole and exclusive right to prosecute this action and enforce
17 the ’682 Patent against infringers and to collect damages for all relevant times.
18         363. 255. The ’682 Patent generally describes a method performed by a cable
19 modem termination system and/or converged cable access platform, the method
20 including determining a corresponding signal-to-noise-ratio (“SNR”) related metric,
21 assigning cable modems to service groups based on a respective corresponding
22 SNR-related metric, generating a composite SNR-related metric based on a worst-case
23 SNR profile, selecting a physical layer communication parameter to be used for
24 communicating with a service group based on a composite SNR-related metric, and
25 communicating with cable modems in the service group using the selected physical
26 layer communication parameter. A true and accurate copy of the ’682 Patent is
27 attached hereto as Exhibit 11.
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                                 -60-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 63 of 81
                                       Page ID #:3737



 1            364. 256. The ’682 Patent is directed to patent-eligible subject matter pursuant
 2 to 35 U.S.C. § 101.
 3            365. 257. The ’682 Patent is valid and enforceable, and presumed as such,
 4 pursuant to 35 U.S.C. § 282.
 5            366. 258. Comcast deploys one or more of the Accused Cable Modem
 6 Products in connection with operating and providing the Accused Services.
 7            367. 259. The Accused Cable Modem Products deployed by Comcast to
 8 customer premises remain the property of Comcast while deployed.
 9            368. 260. The Accused Cable Modem Products operate while deployed in a
10 manner controlled and intended by Comcast.
11            369. 261. As set forth in the infringement contentions served on Comcast on
12 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 12),19
13 Comcast has directly infringed and is infringing at least Claim 1Claims 1-5 and 9 of
14 the ’682 Patent by using, importing, selling, and/or offering for sale the Accused
15 Services.
16            370. 262. Each aspect of the functioning of the Accused Cable Modem
17 Products described in the claim chart operates while deployed to customer premises in
18 a manner controlled and intended by Comcast.
19            371. 263. Comcast provides no software, support, or other facility to
20 customers to modify any aspect of the functioning described in the claim chart of the
21 Accused Cable Modem Products while deployed to customer premises.
22            372. 264. Comcast directly infringes at least Claim 1Claims 1-5 and 9 of the
23 ’682 Patent by using, importing, selling, and/or offering for sale the Accused
24 Services, which utilize cable modem termination systems and/or converged cable
25 access platforms that communicate with the Accused Cable Modem Products (for
26 example, the Technicolor CGM4140 cable modem).
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          The original claim chart for this patent is located at DE 63.
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                                    -61-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 64 of 81
                                     Page ID #:3738



 1         373. 265. The use of the Accused Services by Comcast to, for example,
 2 demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd., Santa
 3 Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436,
 4 or to, for example, test those products, constitute acts of direct infringement of at least
 5 Claim 1Claims 1-5 and 9 of the ’682 Patent.
 6         374. Comcast has known of or has been willfully blind to the ’682 Patent
 7 since before, and no later than the date of, its acceptance of service of the original
 8 Complaint in this action on February 16, 2023.
 9         375. Comcast has known of or has been willfully blind to the ’682 Patent
10 since before, and no later than the date of, its acceptance of service of the First
11 Amended Complaint in this action on June 5, 2023.
12         376. Comcast has known of or has been willfully blind to the ’682 Patent
13 since before, and no later than the date of, its acceptance of service of Entropic’s
14 infringement contentions on September 15, 2023.
15         377. 266. Comcast has known of or has been willfully blind to the ’682 Patent
16 no later than the day before
17         378. 267. Comcast has known of or has been willfully blind to the ’682 Patent
18 since before the August 9, 2022 communication from Entropic.
19         379. 268. Comcast has been aware that it infringes the ’682 Patent since well
20 before, and no later than the date of, its receipt of Entropic’s August 9, 2022
21 communication, attached as Exhibit 17. Since obtaining knowledge of the ’682 Patent
22 and its infringing activities, Comcast has failed to cease its infringing activities.
23         380. Comcast has willfully infringed the ’682 Patent as evidenced by its own
24 patents that cite to U.S. Patent No. 9,419,858 (the ’858 Patent”), which is the ultimate
25 parent of the ’682 Patent. Specifically, Comcast’s patents including U.S. Patent No.
26 11,191,087; U.S. Patent No. 10,582,515; U.S. Patent No. 11,758,574 cite the ’858
27 Patent.
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                                 -62-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22    Filed 12/08/23   Page 65 of 81
                                    Page ID #:3739



 1         381. Comcast’s reference to the ’858 Patent, which is closely related to and
 2 involves similar technology and functionality as the ’682 Patent, evidences Comcast’s
 3 awareness that it infringes upon ’682 Patent.
 4         382. Further, Comcast filed an application for U.S. Patent No. 9,178,765 on
 5 July 23, 2013, in the same month that the application for the ’682 Patent was filed.
 6 On information and belief, Comcast was aware of the ’682 Patent based on the
 7 investigation it undertook during the application and prosecution process for U.S.
 8 Patent No. 9,178,765. Thus, Comcast has willfully infringed the ’682 Patent since at
 9 least July 23, 2013.
10         383. 269. Comcast’s infringement of the ’682 Patent is, has been, and
11 continues to be willful, intentional, deliberate, and/or in conscious disregard for
12 Entropic’s rights under the patent.
13         384. 270. Entropic has been damaged as a result of the infringing conduct
14 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
15 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
16 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
17         385. 271. No apparatus claims of the ’682 Patent are presently asserted.
18 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
19                                       COUNT VII
20                             (Infringement of the ’866 Patent)
21         386. 272. Entropic incorporates by reference each allegation of the paragraphs
22 above as if fully set forth herein.
23         387. Entropic served infringement contentions which included a claim chart
24 for the ’866 Patent on September 15, 2023.
25         388. 273. The ’866 Patent duly issued on July 5, 2022 from an application
26 filed January 28, 2022, an application filed March 30, 2021, an application filed June
27 4, 2019, an application filed October 24, 2017, an application filed November 23,
28 2015, an application filed February 10, 2015, an application filed August 8, 2013, an
                                 -63-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22      Filed 12/08/23   Page 66 of 81
                                       Page ID #:3740



 1 application filed April 19, 2010, and, inter alia a provisional application filed April
 2 17, 2009.
 3            389. 274. Entropic owns all substantial rights, interest, and title in and to the
 4 ’866 Patent, including the sole and exclusive right to prosecute this action and enforce
 5 the ’866 Patent against infringers and to collect damages for all relevant times.
 6            390. 275. The ’866 Patent generally describes a cable television device that
 7 digitizes an entire input signal, concurrently selects a plurality of desired channels
 8 from the digitized input signal without selecting any undesired channels, and provides
 9 the plurality of desired channels. A true and accurate copy of the ’866 Patent is
10 attached hereto as Exhibit 13.
11            391. 276. The ’866 Patent is directed to patent-eligible subject matter pursuant
12 to 35 U.S.C. § 101.
13            392. 277. The ’866 Patent is valid and enforceable, and presumed as such,
14 pursuant to 35 U.S.C. § 282.
15            393. 278. Comcast deploys one or more of the Accused Set Top Products in
16 connection with operating and providing the Accused Services.
17            394. 279. The Accused Set Top Products deployed by Comcast to customer
18 premises remain the property of Comcast while deployed.
19            395. 280. The Accused Set Top Products operate while deployed in a manner
20 controlled and intended by Comcast.
21            396. 281. As set forth in the infringement contentions served on Comcast on
22 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 14),20
23 Comcast has directly infringed and is infringing at least ClaimClaims 27, 28, 33, 36,
24 37, 41, 42, 47, 50, and 51 of the ’866 Patent by using, importing, selling, and/or
25 offering for sale the Accused Set Top Products and/or the Accused Services.
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          The original claim chart for this patent is located at DE 63.
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                                    -64-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 67 of 81
                                    Page ID #:3741



 1         397. 282. Each aspect of the functioning of the Accused Set Top Products
 2 described in the claim chart operates while deployed to customer premises in a
 3 manner controlled and intended by Comcast.
 4         398. 283. Comcast provides no software, support, or other facility to
 5 customers to modify any aspect of the functioning described in the claim chart of the
 6 Accused Set Top Products while deployed to customer premises.
 7         399. 284. Comcast directly infringes at least ClaimClaims 27, 28, 33, 36, 37,
 8 41, 42, 47, 50, and 51 of the ’866 Patent by using, importing, selling, and/or offering
 9 for sale the Accused Set Top Products (for example, the Arris AX013ANM STB)
10 and/or the Accused Services (for example, digitizing and selecting desired television
11 channels from an input signal).
12         400. 285. The use of the Accused Set Top Products by Comcast to, for
13 example, demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd.,
14 Santa Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California
15 93436, or to, for example, test those products, constitute acts of direct infringement of
16 at least ClaimClaims 27, 28, 33, 36, 37, 41, 42, 47, 50, and 51 of the ’866 Patent.
17         401. Comcast has known of or has been willfully blind to the ’866 Patent
18 since before, and no later than the date of, its acceptance of service of the original
19 Complaint in this action on February 16, 2023.
20         402. Comcast has known of or has been willfully blind to the ’866 Patent
21 since before, and no later than the date of, its acceptance of service of the First
22 Amended Complaint in this action on June 5, 2023.
23         403. Comcast has known of or has been willfully blind to the ’866 Patent
24 since before, and no later than the date of, its acceptance of service of Entropic’s
25 infringement contentions on September 15, 2023.
26         404. 286. Comcast has known of or has been willfully blind to the ‘362
27 family, of which the ’866 Patent is a member, no later than the day before
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                                 -65-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 68 of 81
                                     Page ID #:3742



 1         405. 287. Comcast has known of or has been willfully blind to the ’866 Patent
 2 since before the August 9, 2022 communication from Entropic.
 3         406. 288. Comcast has been aware that it infringes the ’866 Patent since well
 4 before, and no later than the date of, its receipt of Entropic’s August 9, 2022
 5 communication, attached as Exhibit 17. Since obtaining knowledge of the ’866 Patent
 6 and its infringing activities, Comcast has failed to cease its infringing activities.
 7         407. 289. Customers and subscribers of Comcast infringe at least ClaimClaims
 8 27, 28, 33, 36, 37, 41, 42, 47, 50, and 51 of the ’866 Patent by using the claimed
 9 system, at least during the use of the Accused Set Top Products (for example, the
10 Arris AX013ANM STB).
11         408. 290. Comcast actively induces customers’ direct infringement. For
12 example, Comcast actively induces infringement of at least ClaimClaims 27, 28, 33,
13 36, 37, 41, 42, 47, 50, and 51 of the ’866 Patent by providing the Accused Set Top
14 Products to Comcast customers with specific instructions and/or assistance (including
15 installation) regarding the use of the Accused Set Top Products to infringe the ’866
16 Patent in accordance with the ordinary course of operation through the provision of
17 the Accused Services. For at least the above-listed reasons, Comcast aids, instructs,
18 supports, and otherwise acts with the intent to cause an end user to use the Accused
19 Set Top Products to infringe at least ClaimClaims 27, 28, 33, 36, 37, 41, 42, 47, 50,
20 and 51 of the ’866 Patent.
21         409. 291. Comcast contributes to the customers’ direct infringement. Comcast
22 provides apparatuses, namely the Accused Set Top Products, that are used by
23 customers to directly infringe at least ClaimClaims 27, 28, 33, 36, 37, 41, 42, 47, 50,
24 and 51 of the ’866 Patent.
25         410. 292. The Accused Set Top Products have no substantial noninfringing
26 uses. When an end user uses the Accused Set Top Products to receive the Accused
27 Services, the end user directly infringes at least ClaimClaims 27, 28, 33, 36, 37, 41,
28
                                 -66-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22    Filed 12/08/23   Page 69 of 81
                                    Page ID #:3743



 1 42, 47, 50, and 51 of the ’866 Patent. The Accused Set Top Products are especially
 2 made or especially adapted for use in an infringing manner.
 3         411. 293. Comcast’s inducement of, and contribution to, the direct
 4 infringement of at least ClaimClaims 27, 28, 33, 36, 37, 41, 42, 47, 50, and 51 of the
 5 ’866 Patent is continuous and ongoing through acts such as providing the Accused Set
 6 Top Products to Comcast customers, which enables those customers to receive the
 7 Accused Services; Comcast’s provision of the Accused Services; and technical
 8 assistance provided by Comcast for equipment it provides to its customers in support
 9 of the provision of the Accused Services.
10         412. 294. Comcast’s infringement of the ’866 Patent is, has been, and
11 continues to be willful, intentional, deliberate, and/or in conscious disregard for
12 Entropic’s rights under the patent.
13         413. 295. Entropic has been damaged as a result of the infringing conduct
14 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
15 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
16 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
17         414. 296. Entropic is aware of no obligation to mark any instrumentality with
18 the ’866 Patent in accordance with 35 U.S.C. § 287.
19                                       COUNT VIII
20                             (Infringement of the ’206 Patent)
21         415. 297. Entropic incorporates by reference each allegation of the paragraphs
22 above as if fully set forth herein.
23         416. Entropic served infringement contentions which included a claim chart
24 for the ’206 Patent on September 15, 2023.
25         417. 298. The ’206 Patent duly issued on July 26, 2022 from an application
26 filed January 28, 2022, an application filed March 30, 2021, an application filed June
27 4, 2019, an application filed October 24, 2017, an application filed November 23,
28 2015, an application filed February 10, 2015, an application filed August 8, 2013, an
                                 -67-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES          Document 128-22       Filed 12/08/23   Page 70 of 81
                                       Page ID #:3744



 1 application filed April 19, 2010, and, inter alia a provisional application filed April
 2 17, 2009.
 3            418. 299. Entropic owns all substantial rights, interest, and title in and to the
 4 ’206 Patent, including the sole and exclusive right to prosecute this action and enforce
 5 the ’206 Patent against infringers and to collect damages for all relevant times.
 6            419. 300. The ’206 Patent generally describes a receiver system that
 7 receivesreceiving an input signal from a cable network, digitizesdigitizing the entire
 8 input signal, concurrently selectsselecting a plurality of desired channels from the
 9 digitized       input    signal   without    selecting    any   undesired    channels,    and
10 providesproviding the plurality of desired channels. A true and accurate copy of the
11 ’206 Patent is attached hereto as Exhibit 15.
12            420. 301. The ’206 Patent is directed to patent-eligible subject matter pursuant
13 to 35 U.S.C. § 101.
14            421. 302. The ’206 Patent is valid and enforceable, and presumed as such,
15 pursuant to 35 U.S.C. § 282.
16            422. 303. Comcast deploys one or more of the Accused Cable Modem
17 Products and Accused Set Top Products in connection with operating and providing
18 the Accused Services.
19            423. 304. The Accused Cable Modem Products and Accused Set Top Products
20 deployed by Comcast to customer premises remain the property of Comcast while
21 deployed.
22            424. 305. The Accused Cable Modem Products and Accused Set Top Products
23 operate while deployed in a manner controlled and intended by Comcast.
24            425. 306. As set forth in the infringement contentions served on Comcast on
25 September 15, 2023 (attached nonlimiting claim chart (hereto as Exhibit 16),21
26 Comcast has directly infringed and is infringing at least ClaimClaims 13, 14, 19, 21,
27
     21
          The original claim chart for this patent is located at DE 63.
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                                    -68-
           FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 71 of 81
                                   Page ID #:3745



 1 23, 25, 26, 31, 34, 35, 38, 39, 44, 47, and 48 of the ’206 Patent by using, selling,
 2 and/or offering for sale the Accused Services through the Accused Cable Modem
 3 Products and Accused Set Top Products.
 4         426. 307. Each aspect of the functioning of the Accused Cable Modem
 5 Products and Accused Set Top Products described in the claim chart operates while
 6 deployed to customer premises in a manner controlled and intended by Comcast.
 7         427. 308. Comcast provides no software, support, or other facility to
 8 customers to modify any aspect of the functioning described in the claim chart of the
 9 Accused Cable Modem Products and Accused Set Top Products while deployed to
10 customer premises.
11         428. 309. Comcast directly infringes at least ClaimClaims 13, 14, 19, 21, 23,
12 25, 26, 31, 34, 35, 38, 39, 44, 47, and 48 of the ’206 Patent by using, importing,
13 selling, and/or offering for sale the Accused Cable Modem Products (for example, the
14 Technicolor CGM4140 cable modem), Accused Set Top Products (for example, the
15 Arris AX013ANM STB), and/or the Accused Services (for example, digitizing and
16 selecting desired television channels from an input signal).
17         429. 310. The use of the Accused Services through the Accused Cable Modem
18 Products and Accused Set Top Products by Comcast to, for example, demonstrate
19 products in brick-and-mortar stores at 685 East Betteravia Rd., Santa Maria,
20 California, 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436, or to,
21 for example, test those products, constitute acts of direct infringement of at least
22 ClaimClaims 13, 14, 19, 21, 23, 25, 26, 31, 34, 35, 38, 39, 44, 47, and 48 of the ’206
23 Patent.
24         430. 311. Customers and subscribers of Comcast infringe at least ClaimClaims
25 13, 14, 19, 21, 23, 25, 26, 31, 34, 35, 38, 39, 44, 47, and 48 of the ’206 Patent by
26 using the claimed method, at least during receipt of the Accused Services utilizing, for
27 example, the Accused Cable Modem Products and Accused Set Top Products (for
28 example, the Arris AX013ANM STBTechnicolor CGM4140 cable modem).
                                 -69-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES      Document 128-22     Filed 12/08/23   Page 72 of 81
                                   Page ID #:3746



 1         431. 312. The Accused Cable Modem Products and Accused Set Top Products
 2 have no substantial noninfringing uses. When an end user uses the Accused Cable
 3 Modem Products and Accused Set Top Products to receive the Accused Services, the
 4 end user directly infringes at least ClaimClaims 13, 14, 19, 21, 23, 25, 26, 31, 34, 35,
 5 38, 39, 44, 47, and 48 of the ’206 Patent. The Accused Cable Modem Products and
 6 Accused Set Top Products are especially made or especially adapted for use in an
 7 infringing manner.
 8         432. 313. Entropic has been damaged as a result of the infringing conduct
 9 alleged above. Comcast is liable to Entropic in an amount that compensates Entropic
10 for Comcast’s infringement, which by law cannot be less than a reasonable royalty,
11 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
12         433. 314. No apparatus claims of the ’206 Patent are presently asserted.
13 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
14         434. Comcast has known of or has been willfully blind to the ’206 Patent
15 since before, and no later than the date of, its acceptance of service of the original
16 Complaint in this action on February 16, 2023.
17         435. Comcast has known of or has been willfully blind to the ’206 Patent
18 since before, and no later than the date of, its acceptance of service of the First
19 Amended Complaint in this action on June 5, 2023.
20         436. Comcast has known of or has been willfully blind to the ’206 Patent
21 since before, and no later than the date of, its acceptance of service of Entropic’s
22 infringement contentions on September 15, 2023.
23         437. 315. Comcast has known of or has been willfully blind to the ‘362
24 family, of which the ’206 Patent is a member, no later than the day before signing the
25 VSA with MaxLinear, Inc.
26         438. 316. Since obtaining knowledge of the ‘362 family, of which the ’206
27 Patent is a member, and its infringing activities, Comcast has failed to cease its
28 infringing activities.
                                 -70-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 73 of 81
                                    Page ID #:3747



 1         439. 317. Comcast’s infringement of the ’206 Patent is, has been, and
 2 continues to be willful, intentional, deliberate, and/or in conscious disregard for
 3 Entropic’s rights under the patent.
 4                                        COUNT IX
 5                             (Infringement of the ’275 Patent)
 6         440. Entropic incorporates by reference each allegation of the paragraphs
 7 above as if fully set forth herein.
 8         441. Entropic served an infringement contention claim chart for the ’275
 9 Patent on November 3, 2023.
10         442. The ’275 Patent duly issued on October 10, 2023 from an application
11 filed September 30, 2022, an application filed July 12, 2022, an application filed
12 January 28, 2022, an application filed March 30, 2021, an application filed June 4,
13 2019, an application filed October 24, 2017, an application filed November 23, 2015,
14 an application filed February 10, 2015, an application filed August 8, 2013, an
15 application filed April 19, 2010, and, inter alia a provisional application filed April
16 17, 2009.
17         443. Entropic owns all substantial rights, interest, and title in and to the ’275
18 Patent, including the sole and exclusive right to prosecute this action and enforce the
19 ’275 Patent against infringers and to collect damages for all relevant times.
20         444. The ’275 Patent generally describes a wideband receiver system that
21 digitizes an input signal, selects desired channels from the digitized signal, and
22 outputs the selected desired channels for demodulation. A true and accurate copy of
23 the ’275 Patent is attached hereto as Exhibit 18.
24         445. The ’275 Patent is directed to patent-eligible subject matter pursuant to
25 35 U.S.C. § 101.
26         446. The ’275 Patent is valid and enforceable, and presumed as such, pursuant
27 to 35 U.S.C. § 282.
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                                 -71-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 74 of 81
                                    Page ID #:3748



 1         447. Comcast deploys one or more of the Accused Set Top Products in
 2 connection with operating and providing the Accused Services.
 3         448. The Accused Set Top Products deployed by Comcast to customer
 4 premises remain the property of Comcast while deployed.
 5         449. The Accused Set Top Products operate while deployed in a manner
 6 controlled and intended by Comcast.
 7         450. As set forth in the infringement contentions served on Comcast on
 8 November 3, 2023 (attached hereto as Exhibit 19), Comcast has directly infringed and
 9 is infringing at least Claims 1, 2, 5, 7, 8, 10-12, 15, 17, 18, and 20 of the ’275 Patent
10 by using, selling, and/or offering for sale the Accused Services through the Accused
11 Set Top Products.
12         451. Each aspect of the functioning of the Accused Set Top Products
13 described in the claim chart operates while deployed to customer premises in a
14 manner controlled and intended by Comcast.
15         452. Comcast provides no software, support, or other facility to customers to
16 modify any aspect of the functioning described in the claim chart of the Accused Set
17 Top Products while deployed to customer premises.
18         453. Comcast directly infringes at least Claims 1, 2, 5, 7, 8, 10-12, 15, 17, 18,
19 and 20 of the ’275 Patent by using, importing, selling, and/or offering for sale the
20 Accused Set Top Products (for example, the Arris AX013ANM STB) and/or the
21 Accused Services (for example, digitizing and selecting desired channels from an
22 input signal).
23         454. The use of the Accused Services through the Accused Set Top Products
24 by Comcast to, for example, demonstrate products in brick-and-mortar stores at 685
25 East Betteravia Rd., Santa Maria, California, 93454; and 1145 N. H Street, Suite B,
26 Lompoc, California 93436, or to, for example, test those products, constitute acts of
27 direct infringement of at least Claims 1, 2, 5, 7, 8, 10-12, 15, 17, 18, and 20 of the
28 ’275 Patent.
                                 -72-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22      Filed 12/08/23   Page 75 of 81
                                    Page ID #:3749



 1         455. Customers and subscribers of Comcast infringe at least Claims 1, 2, 5, 7,
 2 8, 10-12, 15, 17, 18, and 20 of the ’275 Patent by using the claimed method, at least
 3 during receipt of the Accused Services utilizing, for example, the Accused Set Top
 4 Products.
 5         456. The Accused Set Top Products have no substantial noninfringing uses.
 6 When an end user uses the Accused Set Top Products to receive the Accused
 7 Services, the end user directly infringes at least Claims 1, 2, 5, 7, 8, 10-12, 15, 17, 18,
 8 and 20 of the ’275 Patent. The Accused Set Top Products are especially made or
 9 especially adapted for use in an infringing manner.
10         457. Entropic has been damaged as a result of the infringing conduct alleged
11 above. Comcast is liable to Entropic in an amount that compensates Entropic for
12 Comcast’s infringement, which by law cannot be less than a reasonable royalty,
13 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
14         458. Comcast has known of or has been willfully blind to the ’275 Patent
15 since before, and no later than the date of, its acceptance of service of Entropic’s
16 infringement contentions on November 3, 2023.
17         459. Comcast has known of or has been willfully blind to the ’362 family, of
18 which the ’275 Patent is a member, no later than the day before signing the
19
20         460. Since obtaining knowledge of the ’362 family, of which the ’275 Patent
21 is a member, and its infringing activities, Comcast has failed to cease its infringing
22 activities.
23         461. Comcast has known of or has been willfully blind to the ’275 Patent
24 since at least November 3, 2023, when Entropic served Comcast its infringement
25 contention claim charts.
26         462. Comcast has been aware that it infringes the ’275 Patent since well
27 before, and no later than the date of, its receipt of Entropic’s infringement contention
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                                 -73-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22     Filed 12/08/23    Page 76 of 81
                                     Page ID #:3750



 1 claim charts served on November 3, 2023. Since obtaining knowledge of the ’275
 2 Patent and its infringing activities, Comcast has failed to cease its infringing activities.
 3         463. Comcast’s infringement of the ’275 Patent is, has been, and continues to
 4 be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
 5 under the patent.
 6         464. Entropic is aware of no obligation to mark any instrumentality with the
 7 ’275 Patent in accordance with 35 U.S.C. § 287.
 8                                          COUNT X
 9                             (Infringement of the ’438 Patent)
10         465. Entropic incorporates by reference each allegation of Paragraphs 1
11 through 349.
12         466. Entropic served an infringement contention claim chart for the ’438
13 Patent on November 3, 2023.
14         467. The ’438 Patent duly issued on January 9, 2018, from an application filed
15 February 16, 2017, an application filed August 4, 2016, an application filed July 23,
16 2013, and, inter alia a provisional application filed July 23, 2012.
17         468. Entropic owns all substantial rights, interest, and title in and to the ’438
18 Patent, including the sole and exclusive right to prosecute this action and enforce the
19 ’438 Patent against infringers and to collect damages for all relevant times.
20         469. The ’438 Patent generally describes a mechanism for determining
21 communication parameters for communications between a cable modem termination
22 system and cable modems. A true and accurate copy of the ’438 Patent is attached
23 hereto as Exhibit 20.
24         470. The ’438 Patent is directed to patent-eligible subject matter pursuant to
25 35 U.S.C. § 101.
26         471. The ’438 Patent is valid and enforceable, and presumed as such, pursuant
27 to 35 U.S.C. § 282.
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                                 -74-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES       Document 128-22     Filed 12/08/23   Page 77 of 81
                                    Page ID #:3751



 1         472. Comcast deploys one or more of the Accused Cable Modem Products
 2 and Accused Set Top Products in connection with operating and providing the
 3 Accused Services.
 4         473. The Accused Cable Modem Products and Accused Set Top Products
 5 deployed by Comcast to customer premises remain the property of Comcast while
 6 deployed.
 7         474. The Accused Cable Modem Products operate while deployed in a manner
 8 controlled and intended by Comcast.
 9         475. As set forth in the infringement contentions served on Comcast on
10 November 3, 2023 (attached hereto as Exhibit 21), Comcast has directly infringed and
11 is infringing at least Claims 1-5 and 9 of the ’438 Patent, by using, importing, selling,
12 and/or offering for sale the Accused Services.
13         476. Each aspect of the functioning of the Accused Cable Modem Products
14 and Accused Set Top Products described in the claim chart operates while deployed to
15 customer premises in a manner controlled and intended by Comcast.
16         477. Comcast provides no software, support, or other facility to customers to
17 modify any aspect of the functioning described in the claim chart of the Accused
18 Cable Modem Products and Accused Set Top Products while deployed to customer
19 premises.
20         478. Comcast directly infringes at least Claims 1-5 and 9 of the ’438 Patent by
21 using, importing, selling, and/or offering for sale the Accused Services, which utilize
22 cable modem termination systems and/or converged cable access platforms that
23 communicate with the Accused Cable Modem Products and Accused Set Top
24 Products (for example, the Technicolor CGM4140 cable modem).
25         479. The use of the Accused Services by Comcast to, for example,
26 demonstrate products in brick-and-mortar stores at 685 East Betteravia Rd., Santa
27 Maria, California, 93454; and 1145 N. H Street, Suite B, Lompoc, California 93436,
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                                 -75-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 78 of 81
                                     Page ID #:3752



 1 or to, for example, test those products, constitute acts of direct infringement of at least
 2 Claims 1-5 and 9 of the ’438 Patent.
 3         480. Comcast has known of or has been willfully blind to the ’438 Patent
 4 since before, and no later than the date of, its acceptance of service of, Entropic’s
 5 infringement contentions on November 3, 2023.
 6         481. Comcast has known of or has been willfully blind to the ’682 family, of
 7 which the ’438 Patent is a member, no later than the day before signing the
 8
 9         482. Since obtaining knowledge of the ’682 family, of which the ’438 Patent
10 is a member, and its infringing activities, Comcast has failed to cease its infringing
11 activities.
12         483. Comcast has been aware that it infringes the ’438 Patent since well
13 before, and no later than the date of, its receipt of Entropic’s infringement contention
14 claim charts served on November 3, 2023. Since obtaining knowledge of the ’438
15 Patent and its infringing activities, Comcast has failed to cease its infringing activities.
16         484. Comcast’s infringement of the ’438 Patent is, has been, and continues to
17 be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
18 under the patent.
19         485. Entropic has been damaged as a result of the infringing conduct alleged
20 above. Comcast is liable to Entropic in an amount that compensates Entropic for
21 Comcast’s infringement, which by law cannot be less than a reasonable royalty,
22 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
23         486. No apparatus claims of the ’438 Patent are presently asserted.
24 Accordingly, there is no duty to mark pursuant to 35 U.S.C. § 287.
25                                  PRAYER FOR RELIEF
26         WHEREFORE, Entropic requests that:
27         A.     The Court find that Comcast has directly infringed the Patents-in-Suit
28 and hold Comcast liable for such infringement;
                                 -76-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  Case 2:23-cv-01049-JWH-KES        Document 128-22      Filed 12/08/23   Page 79 of 81
                                     Page ID #:3753



 1         B.     The Court find that Comcast has indirectly infringed the Patents-in-Suit
 2 by inducing its customers to directly infringe the Patents-in-Suit and hold Comcast
 3 liable for such infringement;
 4         C.     The Court find that Comcast has indirectly infringed the Patents-in-Suit
 5 by contributing to its customers’ direct infringement of the Patents-in-Suit and hold
 6 Comcast liable for such infringement;
 7         D.     The Court award damages pursuant to 35 U.S.C. § 284 adequate to
 8 compensate Entropic for Comcast’s past infringement of the Patents-in-Suit, including
 9 both pre- and post-judgment interest and costs as fixed by the Court;
10         E.     The Court find that Comcast willfully infringed the Patents-in-Suit, and
11 increase the damages to be awarded to Entropic by three times the amount found by
12 the jury or assessed by the Court;
13         F.     The Court declare that this is an exceptional case entitling Entropic to its
14 reasonable attorneys’ fees under 35 U.S.C. § 285; and
15         G.     The Court award such other relief as the Court may deem just and proper.
16
                                  JURY TRIAL DEMANDED
17
           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Entropic hereby
18
     requests a trial by jury on all issues raised by this Complaint.
19
20 Dated: December 8, 2023                      Respectfully submitted,
21
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                                 -77-
        FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
 Case 2:23-cv-01049-JWH-KES   Document 128-22   Filed 12/08/23   Page 80 of 81
                               Page ID #:3754


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                               -78-
      FIRSTSECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:23-cv-01049-JWH-KES     Document 128-22     Filed 12/08/23   Page 81 of 81
                                Page ID #:3755




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         Litera Compare for Word 11.4.0.111 Document comparison done on
                               12/8/2023 4:49:59 PM
     Style name: KL Standard
     Intelligent Table Comparison: Active
     Original filename: 1050 FAC.docx
     Modified filename: 1050 SAC.docx
     Changes:
     Add                                                    965
     Delete                                                 468
     Move From                                              43
     Move To                                                43
     Table Insert                                           1
     Table Delete                                           0
     Table moves to                                         0
     Table moves from                                       0
     Embedded Graphics (Visio, ChemDraw, Images etc.)       1
     Embedded Excel                                         0
     Format changes                                         0
     Total Changes:                                         1521
